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    Nos. 21-4072, 22-3351, 23-3196, 23-3324, 23-3366, & 23-3417

            In the United States Court of Appeals
                    for the Sixth Circuit
                               __________

       DAYTON POWER & LIGHT COMPANY, DBA AES OHIO, ET AL.,
                          Petitioners,
                                   v.
             FEDERAL ENERGY REGULATORY COMMISSION,
                          Respondent.
                          __________

             ON PETITIONS FOR REVIEW OF ORDERS OF THE
             FEDERAL ENERGY REGULATORY COMMISSION
                            __________

               BRIEF FOR RESPONDENT
       FEDERAL ENERGY REGULATORY COMMISSION
                      __________

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                                        Washington, DC 20426
October 30, 2023                        (202) 502-6433
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AEP                        Petitioner American Electric Power Service
                           Corp.

AEP Ohio                   Petitioner AEP Ohio Transmission Co., Inc.

American                   Petitioner American Transmission Systems,
                           Inc.

Commission or FERC         Respondent Federal Energy Regulatory
                           Commission

Complaint Order            Order on Complaint, Office of the Ohio
                           Consumers’ Counsel v. Am. Elec. Power
                           Serv. Corp., et al., FERC Docket No.
                           EL22-34, 181 FERC ¶ 61,214 (Dec. 15,
                           2022), CR 39, JA ___, on review in Case
                           Nos. 23-3196, 23-3324, 23-3366, and
                           23-3417

Complaint Orders           Together, the Complaint Order and
                           Complaint Rehearing Order, issued in
                           FERC Docket No. EL22-34

Complaint Rehearing        Order Addressing Arguments Raised on
 Order                     Rehearing, Office of the Ohio Consumers’
                           Counsel v. Am. Elec. Power Serv. Corp., et
                           al., FERC Docket No. EL22-34, 183 FERC
                           ¶ 61,034 (Apr. 20, 2023), CR 49, JA ___, on
                           review in Case Nos. 23-3366 and 23-3417

Consumers’ Counsel         Office of Ohio Consumers’ Counsel,
                           Petitioner in Case Nos. 23-3324 and
                           23-3417



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CR                          Record item in the Certified Index filed in
                            Case Nos. 23-3196, 23-3324, 23-3366, and
                            23-3417, which includes all record
                            materials relevant to FERC Docket No.
                            EL22-34 (Complaint Orders)

Dayton                      Petitioner Dayton Power & Light Co.

Dayton Order                Order on Paper Hearing, Dayton Power &
                            Light Co., FERC Docket No. ER20-1068,
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Dayton Orders               Together, the Dayton Order and Dayton
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                            No. ER20-1068

Dayton Rehearing Order      Order Addressing Arguments Raised on
                            Rehearing, Dayton Power & Light Co.,
                            FERC Docket No. ER20-1068, 178 FERC
                            ¶ 61,102 (Feb. 17, 2022), DR 51, JA ___, on
                            review in Case No. 22-3351

DR                          Record item in the Certified Index filed in
                            Case Nos. 21-4072 and 22-3351, which
                            includes all record materials relevant to
                            FERC Docket No. ER20-1068 (Dayton
                            Orders)

Duke                        Petitioner Duke Energy Ohio, Inc.




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Incentives Rule              Together, 18 C.F.R. § 35.35 and Promoting
                             Transmission Investment Through Pricing
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                             on reh’g, Order No. 679-A, 117 FERC
                             ¶ 61,345 (2006), on reh’g, Order No. 679-B,
                             119 FERC ¶ 61,062 (2007)

JA                           Joint Appendix page(s)

OCC Br.                      Brief of Petitioner Ohio Consumers’
                             Counsel

Ohio Power                   Petitioner Ohio Power Co.

P                            Paragraph in a FERC order

Participation Adder          The 50 basis point adder to a base return on
 or Adder                    equity provided under the Incentives Rule
                             for participation in a regional transmission
                             organization (called the RTO Adder in the
                             Commission orders on review)

TO Br.                       Brief of Petitioners Transmission Owners

Transmission Owners          Collectively, Petitioners in Case Nos.
                             21-4072 and 22-3351: Dayton Power &
                             Light Co., dba AES Ohio; FirstEnergy
                             Service Co. (on behalf of American
                             Transmission Systems, Inc.); Duke Energy
                             Ohio, Inc.; and American Electric Power
                             Service Corp.; and Petitioner in Case Nos.
                             23-3196 and 23-3366: American Electric
                             Power Service Corp. (in its own name and
                             on behalf of its affiliates, Ohio Power Co.
                             and AEP Ohio Transmission Co., Inc.)

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             In the United States Court of Appeals
                     for the Sixth Circuit
    Nos. 21-4072, 22-3351, 23-3196, 23-3324, 23-3366, & 23-3417
                             __________

       DAYTON POWER & LIGHT COMPANY, DBA AES OHIO, ET AL.,
                          Petitioners,

                                    v.

              FEDERAL ENERGY REGULATORY COMMISSION,
                           Respondent.
                         _______________

              ON PETITIONS FOR REVIEW OF ORDERS OF THE
              FEDERAL ENERGY REGULATORY COMMISSION
                           _______________

               BRIEF FOR RESPONDENT
       FEDERAL ENERGY REGULATORY COMMISSION
                    _______________

         STATEMENT REGARDING ORAL ARGUMENT

     In accordance with Sixth Circuit Rule 28(b)(1)(B) and Federal

Rule of Appellate Procedure 34(a)(1), Respondent Federal Energy

Regulatory Commission (Commission or FERC) submits that oral

argument would assist the Court’s resolution of this case. The issues in

these consolidated appeals concern incentive-based rate treatments

under the Federal Power Act and Commission regulations, including
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the Commission’s 2006 rulemaking on transmission incentives, as well

as its policies and procedures regarding complex rate settlements. Oral

argument will enable counsel to answer any questions the Court may

have regarding not only the particular issues presented in the orders on

review but also the broader context of electricity utility ratemaking,

regional transmission organizations, and related Commission policies

and proceedings.

                   STATEMENT OF THE ISSUES

     This case arises from two related proceedings concerning the

Commission’s rule allowing electric utilities to collect higher rates —

via an adder in the return-on-equity component of their transmission

rates — as an incentive for joining and remaining as members of a

regional transmission organization (the Participation Adder or the

Adder). In the challenged orders, the Commission considered whether

transmission-owning utilities in Ohio are eligible to include the

Participation Adder in their rates, where an Ohio statute requires them

to join and remain in a regional transmission organization.

     In one proceeding, the Commission denied the application of

Petitioner Dayton Power & Light Company (Dayton) to include the



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Adder in its rates. Dayton Power & Light Co., 176 FERC ¶ 61,025

(2021), JA ___, on reh’g, 178 FERC ¶ 61,102 (2022), JA ___ (together,

Dayton Orders). In the other proceeding, the Commission partially

granted and partially denied a complaint by Petitioner Office of Ohio

Consumers’ Counsel (Consumers’ Counsel) that sought to modify the

rates of several other Ohio utilities. Office of the Ohio Consumers’

Counsel v. Am. Elec. Power Serv. Corp., et al., 181 FERC ¶ 61,214

(2022), JA ___, on reh’g, 183 FERC ¶ 61,034 (2023), JA ___ (together,

Complaint Orders). Based on its ruling in Dayton, the Commission

removed the previously granted Participation Adder from the rates of

two of the Petitioner Transmission Owners, 1 but declined to modify the

settlement rates of two others.

     These consolidated appeals present the following issues for

review. (The first three are raised by Transmission Owners, claiming

1     In this Brief, “Transmission Owners” refers, collectively, to
Petitioners Dayton Power & Light Co., dba AES Ohio; FirstEnergy
Service Co. (on behalf of American Transmission Systems, Inc.); Duke
Energy Ohio, Inc.; and American Electric Power Service Corp. (AEP) (in
its own name and on behalf of its affiliates, Ohio Power Co. and AEP
Ohio Transmission Co., Inc.). (We note, however, that Duke Energy
Ohio, Inc. joined the other Transmission Owners on the petitions for
review in Case Nos. 21-4072 and 22-3351, but did not join the opening
brief jointly filed by the other Transmission Owners.)



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from their perspective that the Commission went too far; the fourth is

raised by Consumers’ Counsel, claiming from the opposite end of the

spectrum that the Commission did not go far enough.)

     (1) Whether the Commission reasonably determined that, under

its incentives regulation and case law, Ohio utilities are not eligible to

collect the Participation Adder because state law mandates their

ongoing participation in a transmission organization;

     (2) Whether the Commission appropriately declined to determine

whether the Ohio statute is preempted by federal law;

     (3) Whether the Commission appropriately exercised its Federal

Power Act authority to remove Participation Adders that it had

specifically granted on a single-issue basis; and

     (4) Whether the Commission reasonably declined to modify

comprehensive rate settlements to adjust negotiated returns on equity

where the Commission had never specifically granted Participation

Adders.

          STATUTORY AND REGULATORY PROVISIONS

     Pertinent statutes and regulations are contained in the attached

Addendum.



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                      STATEMENT OF THE CASE

I.    STATUTORY AND REGULATORY BACKGROUND

      A.    Rate Approvals Under The Federal Power Act

      Section 201 of the Federal Power Act (“FPA”), 16 U.S.C. § 824,

gives the Commission jurisdiction over the rates, terms, and conditions

of service for the transmission and wholesale sale of electric energy in

interstate commerce. This grant of jurisdiction is comprehensive and

exclusive. See generally New York v. FERC, 535 U.S. 1 (2002)

(discussing statutory framework and FERC jurisdiction).

      Section 205 of the Federal Power Act, 16 U.S.C. § 824d, provides

that all rates for or in connection with jurisdictional sales and

transmission services are subject to FERC review to assure they are

just and reasonable, and not unduly discriminatory or preferential. 16

U.S.C. § 824d(a), (b), (e). Section 206 of the Federal Power Act, 16

U.S.C. § 824e, authorizes the Commission, on its own initiative or on a

third-party complaint, to investigate whether existing rates are lawful.

In such a proceeding, the complainant bears “the burden of proof to

show that any rate . . . is unjust, unreasonable, unduly discriminatory,

or preferential . . . .” FPA § 206(b), 16 U.S.C. § 824e(b); see also, e.g.,

Blumenthal v. FERC, 552 F.3d 875, 881 (D.C. Cir. 2009) (stating


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complainant’s burden of proof). If the Commission finds that the

burden has been met, it must determine and set the new just and

reasonable rate. FPA § 206(a), 16 U.S.C. § 824e(a); see, e.g.,

FirstEnergy Serv. Co. v. FERC, 758 F.3d 346, 353-54 (D.C. Cir. 2014)

(discussing “step one” and “step two” under section 206).

     Complex rate filings are frequently resolved by settlements. The

Commission has long taken the view, as have the courts, that

settlements are in the public interest and should be encouraged. See

United Mun. Distribs. Grp. v. FERC, 732 F.2d 202, 209 (D.C. Cir. 1984);

see also Brooklyn Union Gas Co. v. FERC, 409 F.3d 404, 407 (D.C. Cir.

2005) (recognizing the Commission’s “pro-settlement policy”); Fla.

Power & Light Co., 175 FERC ¶ 61,024 P 6 (2021) (“Commission policy

favors settlements, as they provide parties with certainty, reduce

litigation costs, and permit parties to reach reasonable compromise in

resolving difficult issues.”) (citing orders); San Diego Gas & Elec. Co.,

122 FERC ¶ 61,009 P 13 (2008) (“The Commission strongly favors

settlements, particularly in cases that are highly contested and

complex.”) (citations omitted).




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     Under the Commission’s procedural rules, “[a]n uncontested offer

of settlement may be approved by the Commission upon a finding that

the settlement appears to be fair and reasonable and in the public

interest.” 18 C.F.R. § 385.602(g)(3); cf. Mobil Oil Corp. v. FPC, 417 U.S.

283, 314 (1974) (“If a proposal enjoys unanimous support from all of the

immediate parties, it could certainly be adopted as a settlement

agreement if approved in the general interest of the public.”) (citation

omitted).

     B.      Rate Incentives

     In 2005, Congress passed the Energy Policy Act to, among other

things, increase transmission efficiency and innovation. See N.C. Utils.

Comm’n v. FERC, 741 F.3d 439, 443 (4th Cir. 2014) (citing

Pub. L. 109-58, 119 Stat. 594 (2005)). As part of that legislation,

Congress added Section 219 to the Federal Power Act. See 16 U.S.C.

§ 824s. Section 219(a) directed the Commission to establish, by rule,

incentive-based rate treatments for transmission infrastructure, “for

the purpose of benefitting consumers by ensuring reliability and

reducing the cost of delivered power by reducing transmission

congestion.” Id. § 824s(a). Among other provisions, section 219(c)



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specified that “the Commission shall, to the extent within its

jurisdiction, provide for incentives to each transmitting utility or

electric utility that joins a Transmission Organization.” Id. § 824s(c).

Section 219(d) provided that “[a]ll rates approved under the rules

adopted pursuant to this section” are subject to the Federal Power Act’s

requirements “that all rates, charges, terms, and conditions be just and

reasonable and not unduly discriminatory or preferential.” Id. § 824s(d)

(citing id. §§ 824d, 824e).

     Pursuant to section 219, the Commission issued such a rule,

codified at 18 C.F.R. § 35.35. See Promoting Transmission Investment

through Pricing Reform, Order No. 679, 116 FERC ¶ 61,057, on reh’g,

Order No. 679-A, 117 FERC ¶ 61,345 (2006), on reh’g, Order No. 679-B,

119 FERC ¶ 61,062 (2007) 2; see also S. Cal. Edison Co. v. FERC, 717

F.3d 177, 179 (D.C. Cir. 2013) (“[p]ursuant to the Energy Policy Act of

2005, the Commission has also established incentive-based rate

treatments to further encourage the construction of transmission


2     This Brief will refer to the Incentives Rule to mean, collectively,
18 C.F.R. § 35.35 and the Commission’s orders issued in the rulemaking
proceeding. This Brief will refer to Order Nos. 679 and 679-A when
citing paragraphs in those orders.



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facilities”); Conn. Dep’t of Pub. Util. Control v. FERC, 593 F.3d 30, 33

(D.C. Cir. 2010) (noting that the Commission issued the Incentives Rule

to comply with newly-added section 219 of the Federal Power Act). The

Commission explained that “[t]he purpose of our Rule is to benefit

customers by providing real incentives to encourage new infrastructure,

not simply increasing rates in a manner that has no correlation to

encouraging new investment.” Order No. 679 P 6; see also Order No.

679-A P 1 (“These incentives are intended to benefit consumers by

ensuring reliability and reducing the cost of delivered power by

reducing transmission congestion.”).

     To that end, the Commission enumerated a variety of incentives

that it would consider on a case-by-case basis. See, e.g., Order No. 679

PP 1, 5, 43, 93. The rule does not automatically grant any incentive-

based rate treatment to any utility; each utility must demonstrate that

it meets the Commission’s criteria for that incentive and that the

overall return on equity is just and reasonable. 18 C.F.R. § 35.35(c)-(e);

see generally San Diego Gas & Elec. Co. v. FERC, 913 F.3d 127, 130-33

(D.C. Cir. 2019) (discussing the Incentives Rule); Int’l Transmission Co.

v. FERC, 988 F.3d 471, 473 (D.C. Cir. 2021) (same).



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      Several of the enumerated incentives increase a utility’s return on

equity. 3 See, e.g., 18 C.F.R. § 35.35(d)(1)(i) (allowing “[a] rate of return

on equity sufficient to attract new investment in transmission

facilities”); id. § 35.35(d)(2)(1) (allowing a “stand-alone transmission

company” to include an elevated return on equity “that both encourages

Transco formation and is sufficient to attract investment”); see also

Order No. 679-A PP 6-7, 67 (each utility seeking an elevated return

would be required to demonstrate the “nexus” between the incentive

sought and the investment, and “to justify where in the zone of

reasonableness [its] return should lie”); cf. Int’l Transmission, 988 F.3d

at 474 (“FERC ties ‘adders’ to certain behaviors or characteristics of

utilities, incentivizing needed actions by bumping up their returns on

equity above the base level set by FERC.”). The specific incentive at

issue in this case (the Participation Adder) allows “public utilities that

join a Transmission Organization” to receive “a return on equity that is




3     “As its name suggests, a FERC-authorized return on equity
determines the extent to which a utility in the highly regulated
electricity sector may earn a profit.” Int’l Transmission, 988 F.3d at
474.



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higher than . . . the Commission might otherwise allow . . . .” 18 C.F.R.

§ 35.35(e). 4 See infra pp. 14-16.

     Where the Commission grants such an adder, it also must find

that the total return on equity (base return plus the adder) remains

within the zone of reasonableness. See 16 U.S.C. § 824s(d) (incentive

rates are subject to the requirements of 16 U.S.C. §§ 824d and 824e);

see, e.g., Midcontinent Indep. Sys. Operator, Inc., 151 FERC ¶ 61,166

PP 11-13 (2015) (awarding a Participation Adder but concluding that

the utility had not shown the total return on equity to be just and

4    This section provides:

     (e) Incentives for joining a Transmission Organization. The
     Commission will authorize an incentive-based rate treatment, as
     discussed in this paragraph (e), for public utilities that join a
     Transmission Organization, if the applicant demonstrates that the
     proposed incentive-based rate treatment is just and reasonable
     and not unduly discriminatory or preferential. Applicants for the
     incentive-based rate treatment must make a filing with the
     Commission under section 205 of the Federal Power Act. For
     purposes of this paragraph (e), an incentive-based rate treatment
     means a return on equity that is higher than the return on equity
     the Commission might otherwise allow if the public utility did not
     join a Transmission Organization. . . .

18 C.F.R. § 35.35(e) (2022). “Transmission Organization” is defined to
include Regional Transmission Organizations, Independent System
Operators, and certain other entities “approved by the Commission for
the operation of transmission facilities.” Id. § 35.35(b)(2).



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reasonable); cf. ITC Holdings Corp., 121 FERC ¶ 61,229 PP 39-44

(2007) (utility seeking a different incentive adder had not shown total

return on equity to be just and reasonable).

II.   BACKGROUND: INCENTIVE-BASED RATE TREATMENT
      FOR PARTICIPATION IN A TRANSMISSION
      ORGANIZATION

      A.    Regional Transmission Organizations

      Since the 1970s, a combination of technological advances and

policy reforms has given rise to market competition among power

suppliers. The expansion of vast regional grids and the possibility of

long-distance transmission has enabled electric utilities to make large

transfers of electricity in response to market conditions, thereby

creating opportunities for competition among suppliers. See New York,

535 U.S. at 7-8 (explaining evolution of competitive markets).

      In the 1990s, the Commission furthered the development of such

competition by ordering functional unbundling of wholesale generation

and transmission services, requiring utilities to provide open,

non-discriminatory access to their transmission facilities to competing

suppliers. See generally id. at 11-13; cf. Morgan Stanley Capital Grp.

Inc. v. Pub. Util. Dist. No. 1, 554 U.S. 527, 536 (2008) (“the Commission




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has attempted to break down regulatory and economic barriers that

hinder a free market in wholesale electricity”).

     The Commission’s efforts to foster wholesale electricity

competition over broader geographic areas in recent decades have led to

the creation of independent system operators and regional transmission

organizations. See Regional Transmission Organizations, Order No.

2000, FERC Stats. & Regs. ¶ 31,089 (1999) (cross-referenced at 89

FERC ¶ 61,285), on reh’g, Order No. 2000-A, FERC Stats. & Regs.

¶ 31,092 (2000) (cross-referenced at 90 FERC ¶ 61,201), appeals

dismissed, Pub. Util. Dist. No. 1 v. FERC, 272 F.3d 607 (D.C. Cir. 2001);

Morgan Stanley, 554 U.S. at 536-37. These independent regional

entities operate the transmission grid on behalf of transmission-owning

member utilities and are required to maintain system reliability. See

Hughes v. Talen Energy Mktg., LLC, 578 U.S. 150, 155 (2016); FERC v.

Elec. Power Supply Ass’n, 577 U.S. 260, 267-68 (2016); see also NRG

Power Mktg., LLC v. Me. Pub. Utils. Comm’n, 558 U.S. 165, 169 & n.1

(2010) (explaining responsibilities of regional system operators).

     PJM is the independent system operator for a regional

transmission system that spans thirteen states, plus the District of



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Columbia, stretching from the mid-Atlantic to Chicago. See Talen

Energy Mktg., 578 U.S. at 155; FERC, Energy Primer: A Handbook of

Energy Market Basics at 85, 90 (Apr. 2020), energy-primer-

2020_Final.pdf (ferc.gov). The Transmission Owners in these

consolidated cases are electric utility members of PJM. (Petitioners

American Transmission Systems, Inc. and Duke Energy Ohio, Inc. were

members of another regional transmission organization, Midcontinent

Independent System Operator, Inc., before moving to PJM in 2011. See

MISO Transmission Owners v. FERC, 860 F.3d 837, 839 (6th Cir.

2017). Midcontinent includes electric utilities in fifteen states in the

Midwest and the South and one Canadian province. See id.; Energy

Primer at 91.) A map showing both PJM and Midcontinent, among

other regions, is available at https://www.ferc.gov/power-sales-and-

markets/rtos-and-isos.

     B.    The Participation Adder

           1.    The Incentives Rule

     As noted supra pp. 10-11, the package of rate incentives that the

Commission developed in its Incentives Rule included a Participation

Adder to return on equity for entities that joined regional transmission

organizations. See Order No. 679 PP 326-33; Order No. 679-A PP 86-90;

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see also Cal. Pub. Utils. Comm’n v. FERC, 879 F.3d 966, 970 (9th Cir.

2018) (“[Federal Power Act] section 219(c) required FERC to provide

incentives to induce utilities to join regional transmission

organizations. . . . FERC did so in 2006 through the adoption of Order

[No.] 679 and the rehearing orders that followed.”) (citation omitted).

     In that rulemaking, the Commission explained that “[t]he basis

for the incentive is a recognition of the benefits that flow from

membership in such organizations and the fact continuing membership

is generally voluntary.” Order No. 679 P 331; see also Order No. 679-A

P 86 (Adder is “an inducement for utilities to join, and remain in,

Transmission Organizations”). The Commission decided not to create

“a generic adder” for such membership, concluding instead that it would

“consider the appropriate [return-on-equity] incentive” on a case-by-case

basis when an electric utility requested the incentive. Order No. 679

P 326. The Commission further declined to “make a generic finding on

the duration of incentives” for participation; it would presume eligibility

if an entity could show that it had joined a transmission organization

and that its membership “is on-going.” Id. P 327; see also id. P 331

(clarifying that utilities “that have already joined, and that remain



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members of,” a transmission organization are eligible for the

Participation Adder).

      Responding to arguments on rehearing, the Commission affirmed

its decision to allow the Participation Adder for utilities that had

already joined transmission organizations, emphasizing the

“inducement” effect of incentives: “The stated purpose of [Federal

Power Act] section 219 is to provide incentive-based rate treatments

that benefit consumers by ensuring reliability and reducing the cost of

delivered power. We consider an inducement for utilities to join, and

remain in, Transmission Organizations to be entirely consistent with

those purposes.” Order No. 679-A P 86; see also id. n.142 (“incentives

are equally important in inducing utilities to join and remain”). To that

end, the Commission declined to limit the incentive to utilities that had

not yet joined such organizations, as that limitation would “offer[] no

inducement to stay in these organizations for members with the option

to withdraw . . . .” Id.

            2.    The California Decisions

      No party sought judicial review of the orders promulgating the

Incentives Rule. Only a handful of court decisions have reviewed



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Commission orders concerning any rate incentives requested or granted

under the Incentives Rule. See N.C. Utils. Comm’n v. FERC, 741 F.3d

439 (4th Cir. 2014) (affirming Commission orders that approved various

rate incentives for reliability projects); San Diego Gas & Elec. Co. v.

FERC, 913 F.3d 127 (D.C. Cir. 2019) (affirming Commission orders that

granted an abandoned costs incentive only prospectively, excluding

previously incurred costs); Int’l Transmission Co. v. FERC, 988 F.3d

471 (D.C. Cir. 2021) (affirming Commission orders that reduced the

enhanced return-on-equity incentive for an independent transmission

company, based on changes to its independence). Prior to the cases now

on review, only the Ninth Circuit has reviewed the Commission’s

rulings on the Participation Adder. See Cal. Pub. Utils. Comm’n v.

FERC, 879 F.3d 966 (9th Cir. 2018) (California I); Cal. Pub. Utils.

Comm’n v. FERC, 29 F.4th 454 (9th Cir. 2022) (California II).

                 a.       California I

     Beginning in 2007, after the Commission issued the Incentives

Rule, Pacific Gas & Electric Company (PG&E) regularly included the

Participation Adder in its annual tariff filings establishing its

transmission revenue requirement as a participant in the California



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Independent System Operator. See California I, 879 F.3d at 971. Until

2014, those tariff filings were resolved by settlements. See id. at 972,

980. In 2014 and 2015, however, California regulators objected to

PG&E’s annual filing, arguing that a state regulatory order required

PG&E to continue its participation in the transmission organization;

accordingly, the Participation Adder would give PG&E an incentive to

do something that was mandatory. See id. at 972. Nevertheless, the

Commission summarily granted the Participation Adder in both annual

filings, based on PG&E’s ongoing participation. See id.

     On review, the Ninth Circuit concluded that the Commission had

not reasonably interpreted the Incentives Rule. Id. at 973. First, Order

No. 679 provides that a utility that remains in a transmission

organization is “presumed to be eligible” for the Participation Adder.

Order No. 679 P 327, quoted in 879 F.3d at 974. But “language

throughout Order[ Nos.] 679 and 679-A suggests that the presumption

of eligibility may be rebutted . . . and that ongoing membership is not

sufficient for an incentive adder.” 879 F.3d at 974; see also id. (“The

orders commit FERC to case-by-case review of incentive adders even for

utilities that have demonstrated ongoing membership in transmission



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organizations.”); id. at 979 (the Incentives Rule requires a “case-by-case

analysis”).

     The court then focused on the Commission’s justification for the

Participation Adder, based on “‘a recognition of the benefits that flow

from membership in [transmission] organizations and the fact that

continuing membership is generally voluntary.’” Id. at 974 (quoting

Order No. 679 P 331); see also id. at 976 (“By observing that

transmission organization membership was ‘generally voluntary,”

FERC indicated that it knew some utilities could not voluntarily

leave.”) (also quoting P 331). The court further explained that the

Commission had tied that justification to the purpose of Federal Power

Act section 219, “describ[ing] incentive adders as ‘an inducement for

utilities to join, and remain in, Transmission Organizations.’” 879 F.3d

at 974 (quoting Order No. 679-A P 86); see also id. (citing the

Commission’s determination that the Adder should apply to continuing

membership as an “‘inducement to stay’” for those having “‘the option to

withdraw’”) (quoting Order No. 679-A P 86); cf. id. at 975 (also noting

that a “prior contractual commitment or statute may have a bearing on




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[the Commission’s] nexus evaluation” of applications for incentives)

(quoting Order No. 679-A P 122).

      The court thus concluded that parties may challenge the

presumption of a utility’s eligibility for the Participation Adder and that

ongoing membership “is not dispositive” as to eligibility. Id. at 975; see

also id. at 977 (“this presumption is rebuttable”); id. (the Incentives

Rule “permits challenges to incentives on the grounds that they will not

induce continuing participation”). As to the merits of such a challenge,

“the voluntariness of a utility’s membership in a transmission

organization is logically relevant to whether it is eligible for an adder.”

Id. at 975. Specifically, “[w]hen membership is not voluntary, the

incentive is presumably not justified.” Id. at 974. That is, “[a]n

incentive cannot ‘induce’ behavior that is already legally mandated.”

Id.

      Therefore, the court found that the Commission had improperly

granted the Participation Adder to PG&E by failing to address

arguments that its continuing participation was not voluntary but

mandated by state law. Id. at 977; accord id. at 979 (“FERC needed to

inquire into PG&E’s specific circumstances, i.e., whether it could



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unilaterally leave the [organization] and thus whether an incentive

adder could induce it to remain in the [organization]”). The court

remanded the matter to the Commission to consider whether PG&E

could demonstrate that it was eligible for the Adder. Id. at 979, 980.

                 b.      Orders on Remand and California II

     On remand, the Commission determined that California law did

not mandate utilities’ participation in a transmission organization and

that the Participation Adder induced PG&E to continue its membership

in the California Independent System Operator. See, e.g., Pac. Gas &

Elec. Co., 168 FERC ¶ 61,038 P 2 (2019), reh’g denied, 170 FERC

¶ 61,194 PP 5, 21 (2020). Therefore, the Commission affirmed its grant

of the Adder.

     Back on judicial review, the Ninth Circuit affirmed the remand

orders, holding that the Commission had followed the California I

mandate, had correctly interpreted California law, and had reasonably

awarded the Participation Adder based on voluntariness. California II,

29 F.4th at 462, 466-68. The court also held that the Commission

appropriately had interpreted the relevant state law (declining to defer

to California regulators’ interpretation), because the issue in the case —



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eligibility for the Participation Adder — arose from federal law. Id. at

463.

III. THE COMMISSION PROCEEDINGS AND ORDERS ON
     REVIEW

       A.    Dayton Order

       In February 2020, Dayton submitted an application, under

Federal Power Act section 205, requesting approval of certain

transmission rate incentives for planned transmission projects.

Application to Establish Incentive Rate Treatment for Qualifying

Transmission Projects, DR 2, JA ___. In August 2020, the Commission

granted the application in part, approving certain rate incentives for

various projects, but suspended the proposed 50-basis-point (one-half

percent) Participation Adder and set a “paper hearing” to explore

“whether Dayton has shown that its participation in PJM . . . is

voluntary, as required for it to be entitled to the adder, or if such

participation is mandated by Ohio law.” Order on Transmission

Incentives, Dayton Power & Light Co., 172 FERC ¶ 61,140 P 22, DR 14,

JA ___, on reh’g, 173 FERC ¶ 61,154 (2020), DR 37, JA ___, on reh’g and

clarification, 174 FERC ¶ 61,119 (2021), DR 41, JA ___. Specifically,

the Commission directed Dayton to address the requirements of Ohio


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Revised Code § 4928.12 in relation to the Adder provided in 18 C.F.R.

§ 35.35(e). 5 172 FERC ¶ 61,140 P 22 and Appendix – Paper Hearing

Questions, JA ___, ___.

     After reviewing the parties’ briefs, the Commission found that

Dayton does not qualify for the Participation Adder because: (1) the

Incentives Rule requires a showing of voluntary membership in a

regional transmission organization; and (2) Dayton’s membership is not

voluntary because Ohio law requires it. Order on Paper Hearing,

Dayton Power & Light Co., 176 FERC ¶ 61,025 PP 2, 14 (2021) (Dayton

Order), DR 42, JA ___, ___; see id. PP 25-31, JA ___-__ (discussing

voluntariness requirement); id. PP 54-64, JA ___-___ (discussing effects


5    The Ohio statute provides, in pertinent part:

     Except as otherwise provided in [other sections], no entity shall
     own or control transmission facilities as defined under federal law
     and located in this state on or after the starting date of
     competitive retail electric service unless that entity is a member
     of, and transfers control of those facilities to, one or more
     qualifying transmission entities . . . that are operational.

Ohio Rev. Code § 4928.12(A); see also id., § 4928.12(B) (listing nine
specifications that a “qualifying transmission entity” must meet); id.,
section 4928.12(B)(1) (among those specifications, requiring that the
transmission entity “is approved by the federal energy regulatory
commission”).



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of Ohio law). The Commission declined to address arguments that the

Ohio statute is preempted by federal law, concluding that the rate

proceeding was “not an appropriate vehicle to address the

constitutionality of the Ohio statute.” Id. P 71, JA ___.

     B.    Dayton Rehearing Order

     Several parties, including Dayton and the other Petitioner

Transmission Owners, timely filed requests for rehearing. See DR 44,

JA ___ (Dayton); DR 43, JA ___ (other Transmission Owners). On

February 17, 2022, the Commission issued the Order Addressing

Arguments Raised on Rehearing, reaffirming its conclusions that

parties must demonstrate that their participation is voluntary to

qualify for the Adder and that Dayton’s participation is required by

Ohio law. Dayton Power & Light Co., 178 FERC ¶ 61,102 PP 10, 14-18,

22-26, 33-36 (2022) (Dayton Rehearing Order), DR 51, JA ___, ___-__,

___-__, ___-__. The Commission again declined to address preemption.

Id. PP 31-36, JA ___-__.

     Dayton and the other Transmission Owners filed a petition for

review of the Dayton Order in Case No. 21-4072 and a petition for

review of both Dayton Orders in Case No. 22-3351. This Court



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consolidated the petitions on May 4, 2022 and held them in abeyance

pending the outcome of the related complaint proceeding.

     C.    Complaint Order

     On February 24, 2022, Consumers’ Counsel filed a complaint

before the Commission alleging that the other Transmission Owners —

Ohio Power Company (Ohio Power) and AEP Ohio Transmission

Company Inc. (AEP Ohio); Duke Energy Ohio, Inc. (Duke); and

American Transmission Systems, Inc. (American) — likewise are

ineligible for the Adder because their participation in PJM is not

voluntary under Ohio law. Complaint, CR 1, JA ___.

     The Commission granted the complaint in part and denied it in

part. Order on Complaint, Office of the Ohio Consumers’ Counsel v. Am.

Elec. Power Serv. Corp., 181 FERC ¶ 61,214 P 1 (2022) (Complaint

Order), CR 39, JA ___, ___. Specifically, the Commission found that

Ohio Power and AEP Ohio do not qualify for the Adder, which the

Commission had specifically evaluated and granted in previous rate

filings (prior to California I and the Dayton Orders), because their

participation in a transmission organization is mandatory. Id.

PP 62-63, JA ___-__. The Commission thus removed the 50-basis-point



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Adder from Ohio Power’s and AEP Ohio’s formula rates. Id. PP 76-79,

JA ___-__. But the Commission concluded that Duke and American are

not similarly situated because the Commission had never granted them

Participation Adders; their returns on equity, including any adders,

“were each embedded in a comprehensive settlement agreement,” so

that the Commission did not know “the precise trade-offs and

concessions” made by the settling parties. Id. P 64, JA ___. For that

reason, the Commission would not “change unilaterally a single aspect

of such a comprehensive settlement,” absent a showing that the overall

returns on equity were unjust and unreasonable. Id. PP 65-66, JA ___-

__.

      The Commission also declined to address arguments that the

California I court had misinterpreted the Incentives Rule, that the Ohio

statute is preempted, or that the Commission should allow the Adder

even where participation is mandatory. See id. PP 83-85, JA ___-__.

      D.    Complaint Rehearing Order

      AEP and Consumers’ Counsel each timely filed requests for

rehearing. CR 40, JA ___ (AEP); CR 41, JA ___ (Consumers’ Counsel).

On rehearing, the Commission reaffirmed its conclusions on all issues.



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Order Addressing Arguments Raised on Rehearing, Office of the Ohio

Consumers’ Counsel v. Am. Elec. Power Serv. Corp., 183 FERC ¶ 61,034

P 20 (2023) (Complaint Rehearing Order), CR 49, JA ___. The

Commission again explained that Duke and American were not

similarly situated to Ohio Power and AEP Ohio because the

Commission had not specifically authorized the Adder in Duke’s and

American’s returns on equity. Id. PP 27, 33-34, 37-38, JA ___, ___-__,

___-__. Because those returns on equity had been established in

comprehensive settlements, the Commission would not “strip[] out a

single component” of a settlement rate “on a piecemeal basis.” Id.

PP 28-29, JA ___-__. Finally, Commission again rejected arguments

regarding preemption, the Incentives Rule, and California I. Id.

PP 42-43, JA ___-__.

     AEP and Consumers’ Counsel each filed petitions for review of the

Complaint Order in Case Nos. 23-3196 and 23-3324, respectively, and

petitions for review of both Complaint Orders in Case Nos. 23-3366 and

23-3417, respectively. This Court consolidated all of these petitions,

together with the two petitions for review of the Dayton Orders, on July

12, 2023.



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                     SUMMARY OF ARGUMENT

     This case concerns the Commission’s responsibility under the

Federal Power Act to ensure that incentive-based rate treatments for

transmission infrastructure investment, like all FERC-jurisdictional

rates, are “just and reasonable.” To that end, the Commission ensures

that incentives have the effect of inducing conduct — here, by limiting

the Participation Adder incentive to utilities that voluntarily join and

remain in transmission organizations. In addition, in keeping with its

longstanding view that the resolution of complex rate cases by

settlement is in the public interest, the Commission holds to a policy of

declining to revisit individual elements of comprehensive settlement

packages.

     In the Dayton Orders, the Commission reasonably found that its

Incentives Rule, as interpreted by the Ninth Circuit in the recent

California cases, requires a utility requesting the Adder to show that it

participates in a regional transmission organization voluntarily. The

Commission properly declined to revisit whether its promulgation of the

Incentives Rule complied with the directives in Federal Power Act

section 219, 16 U.S.C. § 824s, concluding that Transmission Owners’



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challenge raises a collateral attack on the 2006 rulemaking. In

addition, the Commission appropriately followed California’s

interpretation of the Incentives Rule, grounded in the Rule’s description

of rate incentives as an inducement and its premise that membership in

transmission organizations is generally voluntary.

     Applying the Ohio statute, the Commission found that Ohio

utilities’ participation in transmission organizations is not voluntary

but mandatory, rendering them ineligible for the Adder. Neither its

interpretation of Ohio law nor its factual findings are in dispute.

Instead, Transmission Owners contend that the Ohio statute is

preempted by federal law. The Commission appropriately declined to

consider that constitutional issue, finding that it lacked a sufficient

record and that these individual adjudications under the Incentives

Rule were not an appropriate procedural vehicle to litigate the question.

     In the Complaint Orders, the Commission reasonably

distinguished between two sets of Transmission Owners, removing the

Adders that it had previously granted on a single-issue basis but

declining to modify negotiated rates in comprehensive settlements. The

Commission had specifically approved the requested Adders for Ohio



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Power and AEP Ohio in rate orders that had evaluated the incentive on

the merits. By contrast, Commission had never considered or approved

Adders for Duke and American; rather, both resolved all issues in their

rate cases with complex, multiparty settlements that the Commission

approved as fair and reasonable and in the public interest without

evaluating the merits of any individual component. For these reasons,

the Commission reasonably determined that the Adders for Ohio Power

and AEP Ohio could be removed apart from any other aspects of their

rates, but reasonably concluded that its long-standing policy of

respecting rate settlements cautioned against stripping out a single

component embedded in Duke’s and American’s negotiated rates.

     Other arguments raised by AEP, Dayton, and Intervenor PJM —

concerning AEP’s reliance on an unrelated 2004 proceeding, and PJM’s

efforts to introduce general evidence about regional membership, and

Dayton’s argument claim of unfair disadvantage relative to other PJM

members — are meritless.

                             ARGUMENT

I.   STANDARD OF REVIEW

     This Court reviews FERC orders under the Administrative

Procedure Act’s “arbitrary and capricious” standard, 5 U.S.C.

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§ 706(2)(A); the scope of review under that standard is “‘extremely

narrow.’” Oakbrook Land Holdings, LLC v. Comm’r, 28 F.4th 700, 720

(6th Cir. 2022) (citation omitted), cert. denied, 143 S. Ct. 626 (2023).

The relevant inquiry is whether the agency has “articulate[d] a

satisfactory explanation for its action including a ‘rational connection

between the facts found and the choice made.’” Motor Vehicle Mfrs.

Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43

(1983) (quoting Burlington Truck Lines, Inc. v. United States, 371 U.S.

156, 168 (1962)); see also FCC v. Prometheus Radio Project, 141 S. Ct.

1150, 1158 (2021) (“deferential” standard requires only that agency

action “be reasonable and reasonably explained”); Elec. Power Supply

Ass’n, 577 U.S. at 292 (the question is not “whether a regulatory

decision is the best one possible or even whether it is better than the

alternatives”).

     The Commission’s decisions regarding rate issues are entitled to

broad deference because of “the breadth and complexity of the

Commission’s responsibilities.” Permian Basin Area Rate Cases, 390

U.S. 747, 790 (1968); see also Morgan Stanley, 554 U.S. at 532

(affording “great deference” to Commission’s rate decisions). This is



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particularly true in cases, like this one, that involve “a technical area

like electricity rate design,” meaning the Court “‘afford[s] great

deference to the Commission in its rate decisions.’” Elec. Power Supply

Ass’n, 577 U.S. at 292 (quoting Morgan Stanley, 554 U.S. at 532); cf.

Int’l Transmission, 988 F.3d at 480 (“the Court’s review . . . is

particularly deferential because [rate-related] matters are either fairly

technical or involve policy judgments that lie at the core of the

regulatory mission”) (cleaned up); Transmission Access Policy Study

Grp. v. FERC, 225 F.3d 667, 702 (D.C. Cir. 2000) (Commission’s “policy

assessment[s]” are “owe[d] great deference”), aff’d sub nom. New York v.

FERC, 535 U.S. 1 (2002).

     This Court “give[s] fresh review to questions of law . . . .” MISO

Transmission Owners, 860 F.3d at 841; see also Louisville Gas & Elec.

Co. v. FERC, 988 F.3d 841, 846 (6th Cir. 2021). That said, “[a]n

agency’s interpretation of its own precedents receives considerable

deference.” Aburto-Rocha v. Mukasey, 535 F.3d 500, 503 (6th Cir. 2008)

(citing NSTAR Elec. & Gas Corp. v. FERC, 481 F.3d 794, 799 (D.C. Cir.

2007)); see also, e.g., NRG Power Mktg., LLC v. FERC, 718 F.3d 947,

957 (D.C. Cir. 2013) (“[W]e afford FERC substantial deference in its



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interpretation of its own orders.”); Ky. Utils. Co. v. FERC, 789 F.2d

1210, 1217 (6th Cir. 1986) (“In the complex area of ratemaking, the

Commission’s construction of its own opinions and orders is entitled to

deference.”).

     The Commission’s factual findings are conclusive if supported by

substantial evidence. Federal Power Act § 313(b), 16 U.S.C. § 825l(b);

see Ky. Utils. Co. v. FERC, 766 F.2d 239, 241 (6th Cir. 1985). The

substantial evidence standard requires “more than a scintilla, but less

than a preponderance, of the evidence.” R.P. Carbone Constr. Co. v.

Occupational Safety & Health Rev. Comm’n, 166 F.3d 815, 818 (6th Cir.

1998). Substantial evidence means “such relevant evidence as a

reasonable mind might accept as adequate to support the conclusion

reached.” Id.; accord Universal Camera Corp. v. NLRB, 340 U.S. 474,

477 (1951). If the evidence is susceptible of more than one rational

interpretation, the Court must uphold the agency’s findings. See

Consolo v. Fed. Mar. Comm’n, 383 U.S. 607, 620 (1966); Karimijanaki v.

Holder, 579 F.3d 710, 714 (6th Cir. 2009); NLRB v. Ky. May Coal Co.,

89 F.3d 1235, 1242 (6th Cir. 1996).




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II.   THE COMMISSION APPROPRIATELY REQUIRED A
      SHOWING OF VOLUNTARY MEMBERSHIP IN A
      TRANSMISSION ORGANIZATION AND REASONABLY
      FOUND THAT OHIO LAW MANDATES SUCH
      MEMBERSHIP.

      A.    The Commission Appropriately Ruled, Consistent
            With The Incentives Rule And The California
            Decisions, That Voluntariness Is A Prerequisite For
            The Participation Adder.

      Transmission Owners argue that the Incentives Rule, as

interpreted in the Dayton Orders, violates section 219 of the Federal

Power Act, 16 U.S.C. § 824s. TO Br. 28-33. Specifically, they contend

that the statute plainly entitles each member of a regional transmission

organization to an incentive. TO Br. 29. The Commission, however,

appropriately applied its rule implementing that statute, consistent

with the California decisions.

      The Commission implemented Congress’s directive in the

Incentives Rule. Dayton Order P 26, JA ___; Complaint Order P 83,

JA ___. There, the Commission did adopt a specific rate incentive — an

elevated return on equity — for utilities that join a transmission

organization. Order No. 679 PP 326-33. As discussed supra pp. 15-16,

the premise of voluntary membership underpinned the Participation

Adder from the outset: “The basis for the incentive is a recognition of


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the benefits that flow from membership in such organizations and the

fact that continuing membership is generally voluntary.” Id. P 331,

cited in Dayton Rehearing Order P 14, JA ___. Indeed, voluntariness is

key to the function of an incentive in inducing (voluntary) action. See

Order No. 679-A P 86 n.142 (“incentives are equally important in

inducing utilities to join and remain”) (emphases added). For that

reason, the Commission found an inducement to voluntary membership

“entirely consistent” with the “stated purpose” of Federal Power Act

section 219 “to provide incentive-based rate treatments that benefit

consumers . . . .” Id. P 86; see also Dayton Rehearing Order P 36, JA ___

(reaffirming that this focus on inducing voluntary conduct is consistent

with section 219 and remains “good policy”).

     In terms of procedure, the Commission made clear that no

incentive would be automatically applicable — a utility that wished to

take advantage of any of the “palette of incentive rate treatments” (San

Diego, 913 F.3d at 137) must seek Commission approval. See, e.g.,

Order No. 679 PP 80, 82. The Commission provided that it would

consider such applications on a case-by-case basis, including where

utilities sought packages of multiple incentives. Id. PP 43, 326. As to



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the Participation Adder, the Commission also declined to create a

generic incentive for all members of regional transmission

organizations; every member would be required to file for Commission

approval, even if other members of the same transmission organization

already had received such approval. Id. PP 80 (“a [transmission

organization] member will not automatically receive incentives granted

to another . . . member”), 326 (“we are not persuaded that we should

create a generic adder for such membership, but instead will consider

the appropriate . . . incentive when public utilities request this

incentive”). Moreover, the Commission determined that a member

would be presumed eligible for the Adder, but that the presumption

would be rebuttable. See id. P 327; see also California I, 879 F.3d at

977.

       Relying on the Incentives Rule is not, as Transmission Owners

contend, “beside the point.” TO Br. 34. That Rule fulfilled the directive

of Federal Power Act section 219: “[T]he Commission shall establish, by

rule, incentive-based . . . rate treatments” for interstate transmission.

16 U.S.C. § 824s. To the extent that Transmission Owners argue that

the Incentives Rule was not consistent with section 219(c), they seek to



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relitigate the Commission’s original implementation of the statute —

precisely what the collateral attack rule precludes. Dayton Rehearing

Order P 18, JA ___ (“The parties are making a collateral attack on

Order No. 679 by arguing that [it] failed to go as far as section 219(c)

requires.”); accord Complaint Order P 83, JA ___-__; see also, e.g., ISO

New England Inc., 138 FERC ¶ 61,238 P 17 (2012) (“a collateral attack

is an attack on a judgment in a proceeding other than a direct appeal,

and is generally prohibited”) (cleaned up).

     No party sought judicial review of Order No. 679 at the time —

notwithstanding that more than 100 parties (or groups of parties) filed

comments and 20 filed requests in two rounds of agency rehearing — so

the Incentives Rule, including its consistency with the statute, cannot

be challenged here. Complaint Order P 83, JA ___ (“Such issues should

have been raised on rehearing of Order No. 679 and not as collateral

attacks on a rulemaking determination.”). Transmission Owners

contend that they had no reason to seek review, as the Commission had

not categorically excluded utilities ordered by statute to join

transmission organizations. TO Br. 35-36. This argument fails

because, at the outset, the Incentives Rule premised the Participation



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Adder on the “generally voluntary” membership in transmission

organizations and emphasized the role of incentives in inducing

conduct. See supra pp. 15-16. That some parties may have assumed

that the Commission would apply the Rule a certain way, or that no

court would interpret its text to require a showing of voluntariness, is

no justification for a collateral attack on the rulemaking. Cf. 16 U.S.C.

§ 825l (requiring parties to petition for review within 60 days of final

agency rehearing order).

     In any event, the Commission appropriately declined to revisit the

Incentives Rule here: “It is hornbook administrative law that an agency

need not — indeed should not — entertain a challenge to a regulation in

an individual adjudication.” N.J. Dep’t of Env’t Prot. v. Nuclear

Regulatory Comm’n, 561 F.3d 132, 143 (3d Cir. 2009) (cleaned up);

accord Nat. Res. Def. Council v. Nuclear Regulatory Comm’n, 823 F.3d

641, 651 (D.C. Cir. 2016), quoted in Dayton Rehearing Order P 18 n.36,

JA ___; cf. Simms v. Nat’l Highway Traffic Safety Admin., 45 F.3d 999,

1010 (6th Cir. 1995) (noting with approval that the petitioners before

the court had participated in an agency rulemaking process, then




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sought judicial review of the final rule, “rather than mounting a

collateral attack on the regulations” in a later case).

      Nor can Transmission Owners brush off the Ninth Circuit

California decisions. See TO Br. 34. Those cases did not remake the

substance of the Incentives Rule — the court interpreted the

Commission’s initially-stated rationale and requirements for the Adder,

holding that the Commission’s then-approach to Adder approvals was

inconsistent with the plain language of the Incentives Rule. See

California I, 879 F.3d at 975-77.

      It is true that, in the decade following the Incentives Rule, the

Commission routinely granted the Participation Adder without

considering whether participation was voluntary. See TO Br. 36. But

in 2018, the first court to consider the Adder found that the Commission

had failed to adhere to its own Incentives Rule. See supra pp. 17-21.

Specifically, following from the Commission’s explanation that incentive

adders act “‘as an inducement for utilities to join, and remain in,

Transmission Organizations,’” the court concluded that voluntariness is

“is logically relevant to whether [a utility] is eligible for an adder.”

California I, 879 F.3d at 974-75 (quoting Order No. 679-A P 86), quoted



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in Dayton Order P 27, JA ___, and Complaint Order P 83, JA ___. Put

differently, by its own terms, an incentive cannot meet its purpose of

inducing “behavior that is already mandated.” California I, 879 F.3d at

974, cited in Dayton Order PP 27, 28, JA ___, ___. (Transmission

Owners contend that “the Ninth Circuit did not even hold that Order

[No. 679] requires voluntariness.” TO Br. 34 n.10; see also PJM Br. 22

(slighting “the Ninth Circuit’s dicta on voluntariness”). The

Commission did not take the court’s probing analysis of the Rule’s text

so lightly, understandably finding its conclusions prescriptive:

“[California I] made clear that the voluntariness of a utility’s

membership in [a transmission organization] is a necessary

consideration in granting the [Participation] Adder.” Dayton Order

P 28, JA ___.) The court further faulted the Commission for — having

emphasized in the Incentives Rule that the Participation Adder is

neither automatically granted nor generically applicable (see supra

pp. 9, 15) — failing to consider whether a legal mandate rebuts the

presumption of a utility’s eligibility. See California I, 879 F.3d at 974-

75, 979; Dayton Order P 28, JA ___.




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     Accordingly, applying the Incentives Rule and case law, the

Commission appropriately requires a utility to show that its

membership in a transmission organization is voluntary as “a

prerequisite” to granting a Participation Adder. Dayton Order P 27,

JA ___; Dayton Rehearing Order P 42, JA ___. Moreover, as a policy

matter, the Commission “continue[s] to believe that ‘only providing

incentives to induce future voluntary conduct’ is good policy and

appropriately balances Congress’s direction in [Federal Power Act]

section 219(c) with section 219(d)’s requirement that rates, including

incentive adders, must remain just and reasonable and not unduly

discriminatory or preferential.” Dayton Rehearing Order P 36, JA ___

(quoting California I, 879 F.3d at 978); see also id. P 35, JA ___ (where a

utility is mandated to participate in a transmission organization, “it

would be inconsistent with Commission policy and [the Incentives Rule]

to reward [the utility] with a windfall for an action that it has no choice

but to take”).




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     B.    The Commission Appropriately Declined To Consider
           Whether The Ohio Statute Is Preempted By Federal
           Law.

      In the challenged orders, the Commission found that the

presumption of eligibility for the Participation Adder is rebutted, for

Ohio utilities, by the fact that their membership in a regional

transmission organization is not voluntary. Dayton Order PP 54-55, 63,

JA ___, ___; see also Dayton Rehearing Order PP 22, 24, JA ___, ___;

Complaint Order PP 60, 63, JA ___, ___; Complaint Rehearing Order

P 20, JA ___.

     Specifically, Ohio law requires any utility having transmission

facilities in Ohio to join a transmission organization. Ohio Rev. Code

§ 4928.12(A); see supra note 5. The Commission found that any

transmission organization that would satisfy the Ohio statute’s criteria

would also be a transmission organization under the Federal Power Act

and Commission regulations, including the provisions governing the

Participation Adder. Dayton Order PP 57-58, JA ___-__; Dayton

Rehearing Order P 22, JA ___. Responding to the arguments of various

parties that utilities could find alternative arrangements to satisfy Ohio

law without joining PJM or another a regional transmission



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organization, the Commission found no such daylight between the state-

law mandate and requirements for the Participation Adder. Dayton

Order PP 59-63, JA ___-__; Dayton Rehearing Order P 23, JA ___.

     Accordingly, the Commission concluded that the membership of

an Ohio utility in a transmission organization “would not be voluntary.”

Dayton Order P 63, JA ___. Thus, “this lack of voluntariness rebuts the

presumption of Dayton’s eligibility for the [Participation] Adder based

on its ongoing membership” in a transmission organization because the

Adder “would not be an inducement” for the continuing membership

that is “already required under Ohio statute.” Id.; see also Complaint

Order P 63 & n.127, JA ___ (adhering to findings in the Dayton Orders).

     Neither the Commission’s interpretation of the Ohio statute nor

its factual findings are challenged on appeal. Rather, the Transmission

Owners argue that the Commission should have held that the Ohio

statute is preempted by federal law, either because Congress has

occupied the field or because the Ohio law conflicts with federal policy.

See TO Br. 37-47. Failing that, they contend that this Court should find

the statute preempted and remand the challenged orders to the

Commission to determine whether Transmission Owners’ continued



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membership in PJM is voluntary in the absence of the state law

mandate. Id. 47-48.

     The Commission noted that “the ultimate determination” on

preemption “would need to be made by a federal court.” Dayton Order

P 71, JA ___; id. (“[O]nly a federal court has the ultimate authority to

invalidate the Ohio statute.”); accord Complaint Order P 84, JA ___.

That said, the Commission rightly concluded that these agency

proceedings were “not an appropriate procedural vehicle to address the

constitutionality of the Ohio statute.” Dayton Order P 71, JA ___;

Complaint Order P 84, JA ___; see also Dayton Rehearing Order P 31,

JA ___ (“this proceeding is an inappropriate vehicle to address

preemption concerns”). For that reason, the Commission reasonably

exercised its discretion to decline to address preemption in the

challenged orders. Dayton Order P 71, JA ___; Complaint Order P 84,

JA ___. The Commission submits that, for the same reasons, this Court

should likewise decline to reach beyond these orders to consider

preemption in the first instance.

     First, the posture of these individual adjudications does not

support a ruling on the broad legal question of preemption. Dayton’s



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contested rate filing and Consumers’ Counsel’s complaint both concern

the Commission’s determinations whether Transmission Owners’ rates

are “just and reasonable” under the Federal Power Act, based on

application of the Incentives Rule. See Dayton Order PP 1-2, JA ___;

Complaint Order P 1, JA ___; cf. California II, 29 F.4th at 463 (“The

incentive adder and the requirement that a utility be a voluntary

member of [a transmission organization] to qualify for the incentive

adder arise from federal law. . . . That [state] law dictates whether

membership in [a transmission organization] is voluntary does not

change [that] ‘the source of the right sued upon’ is federal law.”).

     Thus, both sets of orders turned on whether Transmission Owners

were eligible for the Participation Adder, which required the

Commission to determine whether Transmission Owners’ ongoing

participation in a transmission organization was voluntary. See Dayton

Order P 14, JA ___; Complaint Order P 60, JA ___. The records in both

proceedings reflect that focus, with lengthy submissions from numerous

parties regarding the circumstances of Transmission Owners’

participation, as well as arguments about applying the Incentives Rule

and the Ohio statute to those facts. See DR 24-31, 33-36, 43-46; CR 1-



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36, 40-43. Ultimately, the Commission reasonably determined that,

“[a]s the facts stand currently before us, the Ohio law is in place,

rendering . . . participation mandatory.” Dayton Rehearing Order P 32,

JA ___.

     Therefore, the orders now on judicial review, and the

administrative records on which the Court must evaluate the

Commission’s reasoning, center on the Commission’s determinations

under the Federal Power Act. Tellingly, the preemption cases on which

Transmission Owners rely (TO Br. 38-39, 42-43) did not arise on direct

review of Commission orders. See Talen Energy Mktg., 578 U.S. 150

(utilities sought declaratory judgment against state regulators in

federal district court); Oneok, Inc. v. Learjet, Inc., 575 U.S. 373 (2015)

(natural gas customers’ antitrust claims against pipeline companies

were removed to federal district court). Other leading cases on the

preemptive effect of the Commission’s jurisdiction have arisen to the

United States Supreme Court from state supreme court appeals of state

regulators’ orders, in cases where parties disputed the states’ authority

to act. See, e.g., Nantahala Power & Light Co. v. Thornburg, 476 U.S.




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953 (1986); Miss. Power & Light Co. v. Miss. ex rel. Moore, 487 U.S. 354

(1988); Entergy La., Inc. v. La. Pub. Serv. Comm’n, 539 U.S. 39 (2003).

     In all of those cases, the preemption issue was squarely presented

and fully litigated in lower courts. Here, the fact-intensive agency

record is not sufficient to consider preemption, nor have all relevant

parties briefed the issue. In setting Dayton’s proposed rate filing for

hearing, the Commission did not include the constitutional question.

See Dayton Order P 71 n.147, JA ___; Dayton, 172 FERC ¶ 61,140,

Appendix – Paper Hearing Questions, JA ___. Nor did the Ohio

Attorney General intervene or provide a defense of that state’s law in

either proceeding. See Complaint Order P 84 n.175, JA ___. In both

proceedings, the Commission properly concluded that it lacked “a

sufficient record . . . on this constitutional issue.” Id. P 84; Dayton

Order P 71, JA ___. This Court should conclude the same.

III. THE COMMISSION REASONABLY DISTINGUISHED
     BETWEEN PARTICIPATION ADDERS THAT IT HAD
     SPECIFICALLY GRANTED AND THOSE ADOPTED AS
     PART OF COMPREHENSIVE RATE SETTLEMENTS.

     Petitioners AEP, on one hand, and Consumers’ Counsel, on the

other, raise mirror-image claims that the Commission should have

treated all Transmission Owners the same: AEP argues that the


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Commission erred by eliminating Ohio Power’s and AEP Ohio’s

Participation Adders while leaving others in place, while Consumers’

Counsel argues that the Commission erred by declining to modify

Duke’s and American’s rates as well. See TO Br. 52-58 (AEP only)

(arguing that the Commission “irrationally distinguished” its

subsidiaries, Ohio Power and AEP Ohio, from Duke and American);

OCC Br. 24-52 (contending that the Commission unreasonably failed to

remove Duke’s and American’s Adders). As discussed infra, both AEP

and Duke attempt to blur critical distinctions between the

Transmission Owners’ various rates.

     The Commission, however, fully justified its determination as to

each Transmission Owner based on the facts, the law, and its long-

established policy priorities. In particular, the Commission explained

that the Transmission Owners are not similarly situated, so their

different outcomes are not unduly discriminatory. See Complaint Order

P 64, JA ___; Complaint Rehearing Order PP 33, 37, JA ___, ___. “A

mere difference in the treatment of two entities does not violate the

Federal Power Act; instead, undue discrimination occurs only if the

entities are similarly situated . . . such that there is no reason for the



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difference . . . .” Mo. River Energy Servs. v. FERC, 918 F.3d 954, 958

(D.C. Cir. 2019) (cleaned up); Black Oak Energy, LLC v. FERC, 725

F.3d 230, 239 (D.C. Cir. 2013) (courts “accept disparate treatment

between ratepayers only if FERC offer[s] a valid reason for the

disparity . . . [such as by] pointing to differences between parties that

are relevant to the achievement of permissible policy goals”) (cleaned

up).

       Here, the differences in the Adders’ provenance go to the core of

the Commission’s reasoning in each case: How each utility obtained its

enhanced return on equity would determine how the Commission could

modify that return. As to Ohio Power and AEP Ohio, the Commission

had previously granted the Participation Adder on each utility’s specific

application for the incentive. Therefore, in the Complaint Orders, the

Commission properly invoked its authority under section 206 of the

Federal Power Act, 16 U.S.C. § 824e, to reevaluate and revise those

Adders on a single-issue basis, separate from the utilities’ base returns

on equity. Complaint Order P 62, JA ___. By contrast, the Commission

had never granted Participation Adders to Duke and American; it had

only approved comprehensive settlements that resolved all return-on-



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equity issues together. For that reason, the Commission appropriately

applied its long-standing policy of preserving rate settlements and

declined to strip out a single component of those settlement packages.

Id. P 64, JA ___.

     A.    The Commission Appropriately Removed The
           Participation Adders That It Had Specifically Granted
           To Ohio Power And AEP Ohio.

     Every utility that wishes to take advantage of incentive-based rate

treatments established in the Incentives Rule must seek Commission

approval of such incentive(s). See Order No. 679 PP 1-2, 80.

Commission approval is no mere formality. For example, in San Diego,

913 F.3d 127, a utility requested an incentive allowing full cost recovery

if the project were abandoned. The utility requested the incentive after

it had already invested millions of dollars over several years; the utility

argued that all costs should be recoverable because it had been entitled

to the incentive from the outset. See id. at 137. The Commission,

however, ruled that the incentive would apply only prospectively from

the date of the order granting it, and the D.C. Circuit agreed. Id. at

137-42. “The Commission responds that the [Incentives] Rule sets the

general terms, but a utility’s entitlement depends on FERC’s approval.



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It could hardly be otherwise.” Id. The Commission “grants incentive

rate authority ‘when justified’ on a ‘case-by-case basis’ . . . .” Id. at 141

(citations omitted); accord Order No. 679 P 326; California I, 879 F.3d

at 978. Thus, no utility is entitled to any incentive unless and until it

obtains case-specific Commission approval.

      Both Ohio Power and AEP Ohio did just that. In 2008 and 2009,

respectively, Ohio Power and AEP Ohio submitted proposed tariff

filings that included requests for Participation Adders. See Complaint

Order P 62, JA ___ (citing cases). In each case, the Commission

specifically approved the incentive. Am. Elec. Power Serv. Corp., 124

FERC ¶ 61,306 P 30 (2008) (granting “up to 50 basis points of incentive

[return on equity]” to Ohio Power, among other AEP operating

companies, “for [its] continued participation in PJM”) (citing

Commission precedents); AEP Appalachian Transmission Co., 130

FERC ¶ 61,075 P 21 (2010) (approving proposal by AEP Ohio, among

other new AEP transmission subsidiaries, to include a 50 basis point

adder to base return on equity for continued participation in PJM)

(citing Am. Elec. Power). In both cases, the Commission made a merits

finding that its decision to grant the incentive was consistent with the



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purpose of Federal Power Act section 219 and the Commission’s policy

of encouraging continued involvement with a regional transmission

organization. See id.

     In both cases, the Commission then set the tariff proposals for

hearing and settlement judge procedures, but expressly excluded the

Adder from the scope of those proceedings. AEP Appalachian, 130

FERC ¶ 61,075 P 19 (“Except for the issues discussed below [the first of

which was the Participation Adder], all other issues raised in the

proceeding . . are set for hearing.”); Am. Elec. Power, 124 FERC

¶ 61,306 P 22 (accepting proposed formula rate “subject . . . to the

outcome of hearing and settlement judge procedures” and “granting the

request for the 50 basis point adder for continued participation” in

PJM). This was consistent with the Commission’s practice: “The

Commission determines a utility’s eligibility for the [Participation]

Adder separately from its analysis of the utility’s base [return on

equity] . . . .” Complaint Order P 61, JA ___. For that reason, when the

parties to those proceedings entered into settlement discussions, “they

knew they were negotiating only the base [return on equity]” because

the Commission had already resolved entitlement to the Participation



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Adder. Id. P 62 n.123, JA ___-__; accord Complaint Rehearing Order

P 37 & n.107, JA ___-__.

     Similarly, when a group of customers later filed a complaint

challenging the AEP companies’ base return on equity, which the

parties ultimately settled, the companies (including Ohio Power and

AEP Ohio) went into that negotiation with their previously granted

Participation Adders already in hand. “Those . . . Adders were in effect

at the time . . . , meaning there was nothing to negotiate regarding

those [A]dders” and only the base return on equity was set for hearing

and settlement. Complaint Rehearing Order P 38, JA ___; see Am. Mun.

Power, Inc. v. Appalachian Power Co., 161 FERC ¶ 61,192 PP 2, 4

(2017) (explaining that the complaint challenged the base return on

equity and noting that the “overall” return included the “50 basis point

adder awarded for . . . participation in PJM”); id., ordering para. (A)

(setting a hearing on the base return on equity).

     AEP glosses over the Commission’s express rulings granting the

Adders and its clear instructions regarding the base returns on equity.

See TO Br. 54-58; id. 54 (claiming that “AEP’s transmission rate and

[Participation] Adder stem from multiple settlements”). AEP also



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seems to suggest that, in the rate settlements that followed, the parties

might have disregarded the Commission’s explicit orders on the scope of

the proceedings. See id. 57-58. These musings, however, find no

support in the record and are contrary to the Commission’s

unambiguous directives.

     In short, once the Commission granted the Adders, Ohio Power

and AEP Ohio remained entitled to those incentives, separate from any

other rate issues that might be litigated or settled, unless and until the

Commission removed the Adders under Federal Power Act section 206,

16 U.S.C. § 824e. But just as it can award an incentive adder on a

single-issue basis, the Commission can remove such an adder on a

single-issue basis, without finding that the overall return on equity has

become unjust and unreasonable. Complaint Order P 62, JA ___.

     Indeed, the Commission has done so in other cases. For example,

in International Transmission, 988 F.3d 471, on a complaint brought by

transmission customers, the Commission removed a previously granted

incentive adder that allows an enhanced return on equity for stand-

alone transmission companies (which sell transmission services and are

independent from market participants). There, the changed



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circumstances were factual; the Commission found that the

transmission company had, following a change in corporate ownership,

lost some of the independence that justifies that particular incentive.

See id. at 481-85. The Commission determined that the full amount of

that adder (which, in that case, was 50 basis points) had been rendered

unjust and unreasonable. Id. at 485. (Because the Commission found

that the utility’s independence was diminished, but not eliminated, the

Commission then set a new replacement incentive of 25 basis points.

Id. at 485. See generally supra p. 6 (explaining “step two” under section

206, setting a replacement rate).) The Commission subsequently

removed and replaced the same adder for a related company, on the

same grounds. Kan. Corp. Comm’n v. ITC Great Plains, LLC, 172

FERC ¶ 61,037, on reh’g, 173 FERC ¶ 61,160 (2020).

     Similarly, in this case, having “specifically evaluated and granted

[Participation Adders] to Ohio Power and AEP Ohio . . . on a single-

issue basis, separate from all other [return on equity] issues,” the

Commission properly could “reevaluate and revise those specific

incentives on a single-issue basis in response to the changed

circumstances raised in the Complaint.” Complaint Order P 62, JA ___.



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In doing so, the Commission did not (as AEP contends, see TO Br. 54-

58) modify the rate settlements that established Ohio Power’s and AEP

Ohio’s base returns on equity — both because the Commission

“essentially revers[ed] our prior stand-alone rulings” granting the

Adders (Complaint Rehearing Order P 38, JA ___) and because the

Commission had excluded those incentives from further examination

when it set the base return on equity issues for hearing and, ultimately,

settlement. See supra pp. 52-53.

     B.    Because The Commission Had Not Specifically
           Granted Participation Adders To Duke And American,
           It Appropriately Declined To Modify Their Returns
           On Equity That Were Embedded In Comprehensive
           Rate Settlements.

     By contrast, the Commission never granted the Participation

Adder to Duke or American. Complaint Rehearing Order P 26, JA ___.

Rather, each resolved its rate proceeding in a comprehensive

settlement, without a Commission order that evaluated its eligibility

and found the Adder just and reasonable for that utility. Id. P 27,

JA ___. To the extent that the overall returns on equity embedded in

those settlement packages include any enhancements, they resulted




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from negotiations and not from Commission determinations. Complaint

Order P 64, JA ___; Complaint Rehearing Order P 38, JA ___.

     In approving such settlements, the Commission does not evaluate

individual components of a settled rate. Rather, where no party

contests a settlement, the Commission, in accordance with its

regulations and longstanding practice, determines whether “the

settlement appears to be fair and reasonable and in the public interest.”

18 C.F.R. § 385.602(g)(3), see supra p. 7. The Commission made that

finding in approving Duke’s and American’s rate settlements. See PJM

Interconnection, L.L.C., 151 FERC ¶ 61,029 P 14 (2015) (Duke); PJM

Interconnection, L.L.C., 153 FERC ¶ 61,106 P 3 (2015) (American). In

both cases, comprehensive settlement packages were the result of

extended negotiations among multiple parties on a variety of issues

stemming from the transmission owners’ entry into PJM, ultimately

reaching complex agreements that no party contested.

     In May 2011, American left the Midcontinent region and joined

PJM; at the end of that year, Duke and its Kentucky affiliate did the

same. See MISO Transmission Owners, 860 F.3d at 839. Duke’s

integration into PJM entailed several years of litigation and



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negotiations, including multiple settlements and Commission orders,

before the various parties reached an uncontested settlement in 2014

that the Commission ultimately approved the following year. See PJM,

151 FERC ¶ 61,029 PP 1-5 (recounting history of prior settlements and

proceedings). The Commission approved the settlement, which resolved

numerous rate issues, under the “fair and reasonable and in the public

interest” standard. PJM, 153 FERC ¶ 61,106 P 14. The Commission

did not address the merits of any single issue, including the purported

Adder — indeed, it disclaimed any such consideration: “The

Commission’s approval of the . . . Settlement does not constitute

approval of, or precedent regarding, any principle or issue in this

proceeding.” Id.; see United Mun. Distribs. Grp., 732 F.2d at 207 n.8

(“The Commission’s approval of an uncontested settlement has no

precedential value as settled practice.”); cf. California I, 879 F.3d at 980

(holding that, where the Commission had previously approved rate

settlements that included a Participation Adder, with this disclaimer of

precedential effect, those approvals did not preclude parties from

challenging utility’s entitlement to the Adder in later proceedings).




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     For its part, American entered PJM with transmission rates that

the Commission accepted in a 2011 filing and a 2013 settlement. See

PJM Interconnection, L.L.C., 149 FERC ¶ 61,292 PP 3-4 (2014)

(discussing prior proceedings). In 2014, American proposed revisions to

its transmission formula rate; other parties protested numerous issues,

including American’s overall return on equity, and the Commission set

those issues for hearing. See id. PP 25-29. The parties filed an

uncontested settlement in 2015, which the Commission approved as fair

and reasonable and in the public interest, with the same disclaimer as

to specific issues. PJM, 153 FERC ¶ 61,106 P 3.

     AEP and Consumers’ Counsel correctly point out — and the

Commission recognized — that both settlements purported to include a

50 basis point adder, for participation in PJM, in the overall returns on

equity. See TO Br. 55; OCC Br. 32; Brief of Intervenor Buckeye Power,

Inc. at 7-9; Complaint Order P 65, JA ___; see also PJM, 153 FERC

¶ 61,106 P 10 (summarizing the Duke settlement, which described the

overall return on equity as consisting of the base return “and a 0.5

percent . . . adder for participation in a regional transmission

organization”); [American] Settlement Agreement and Offer of



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Settlement § II.C.2, FERC Docket No. ER15-303-000 (filed July 20,

2015) (included in TO Br. Addendum at A87) (explaining that all return

on equity values set forth in the settlement “are inclusive of any

incentive adder for [transmission organization] participation”). 6

(Consumers’ Counsel asserts that “it was imperative” that those

settlements identified adders and argues that the Commission failed to

respond to that assertion, warranting remand. OCC Br. 37 (citing

Consumers’ Counsel Reh’g Req. at 11, JA ___). But the Commission

need not address every contention. See Pub. Serv. Elec. & Gas Co. v.

FERC, 989 F.3d 10, 19-20 (D.C. Cir. 2021) (the Commission must

respond to major arguments but need not address “insignificant ones”)

(citing cases). In any event, the Commission did recognize that the

Duke and American settlements described the returns on equity as

including adder amounts.)

     The Commission approved the settlement packages that included

those negotiated overall returns on equity, but did not make any

determination authorizing a Participation Adder in the settled rates.

6     Neither the 2014 order setting American’s tariff filing for hearing
nor the 2015 order approving the settlement mentioned the purported
adder in the overall return on equity.



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Complaint Rehearing Order P 30, JA ___. In the orders challenged

here, the Commission acknowledged that, had Duke and American

sought Commission approval of the Adders at that time (in 2015, prior

to the Ninth Circuit California decisions), the Commission likely would

have granted the Adders. Complaint Rehearing Order P 28, JA ___.

     But no incentive is automatic. See Order No. 679 P 1 (the

Incentives Rule “does not grant outright any incentives to any public

utility”); see also supra pp. 50-51 (discussing San Diego court case).

This is true even for the Participation Adder; in the Incentives Rule, the

Commission noted that a member of a transmission organization “will

not automatically receive incentives granted to another . . . member” of

the same organization. Order No. 679 P 80. Therefore, where a

settlement purports to incorporate, in a negotiated return on equity, an

incentive that the Commission has not granted, that incentive amount

must be a product of the settlement itself. Complaint Order P 60,

JA ___; Complaint Rehearing Order P 26, JA ___.

     For that reason, the Commission concluded that it could not

separate the purported Adder amounts from the negotiated rates in the

Duke and American settlements, or assume that the ungranted Adders



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were included without bargaining on other issues. “Even if the

settlements included an amount reflecting [a Participation Adder], that

does not explain how that . . . Adder came to be included in the

settlement agreements and what trade-offs led to that outcome.”

Complaint Rehearing Order P 28, JA ___; see also id. (“we do not know

the precise trade-offs and concessions made by the parties to those

proceedings”); Complaint Order P 65, JA ___ (“we cannot know what, if

anything, the parties agreed to in exchange for settling on those [return

on equity] figures” as part of “integrated, comprehensive settlements of

the entire proceeding(s)”); id. P 64, JA ___ (“We do not know the precise

trade-offs and concessions made by the parties to those proceedings

during the settlement process and the terms . . . and conditions to which

those parties would have agreed with respect to Ohio transmission

assets had the Commission policy on [Participation] Adders been

different.”).

      This is not simply a matter of whether the Commission could

assume what interests drove the negotiations, or venture an informed

guess at the trade-offs the parties might have made. (Both AEP and

Consumers’ Counsel offer their own suppositions. See TO Br. 56-58;



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OCC Br. 35-38.) In these circumstances, the Commission reasonably

found that carving out the Adder “would, in effect, modify the

settlement agreement by stripping out a single component of an

intricate financial package that the parties to the settlement found

balanced and thus agreeable.” Complaint Rehearing Order P 28,

JA ___. Precisely because the Commission strongly favors settlements

in complex rate cases, revisiting individual elements of rate settlements

contravenes Commission policy. Id.; see also id. P 29, JA ___ (“adjusting

settlement rates on a piecemeal basis . . . would undermine the

certainty provided to settling parties and would be inconsistent with the

Commission’s longstanding policy of promoting settlements”). See

generally supra p. 6 (discussing the Commission’s policy of favoring and

preserving settlements). Such policy judgments are at the core of the

Commission’s regulatory authority and deserve deference. See, e.g.,

Int’l Transmission, 988 F.3d at 480.

     With that policy in mind, the Commission reasonably

distinguished between the Adders (for Ohio Power and AEP Ohio) that

it had specifically granted, and could remove, on a single-issue basis,

and those ungranted Adders (for Duke and American) that were



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embedded in comprehensive settlements. See Complaint Order PP 64-

66, JA ___-__; Complaint Rehearing Order PP 29 n.79, 30, 33, JA ___,

___. The Commission appropriately determined that, to meet the

complainant’s burden under section 206 of the Federal Power Act to

revise Duke’s and American’s settlement rates, Consumers’ Counsel

must make a threshold showing that the overall returns on equity had

become unjust and unreasonable. Complaint Order PP 64-66, JA ___-

__; Complaint Rehearing Order PP 30, 33-34, JA ___, ___-__. See, e.g.,

Sithe/Indep. Power Partners v. FERC, 165 F.3d 944, 951 (D.C. Cir.

1999) (noting that Commission has required customers to demonstrate

the overall rate is unjust and unreasonable, not just single cost

components); DATC Path 15, LLC, 177 FERC ¶ 61,115 PP 24-25 (2021)

(finding that the level of an overall return on equity, which included

several incentives, was unjust and unreasonable). The Commission

recognized that this standard places a burden on complainants, but

found “that countervailing policy considerations caution against

adjusting settlement rates on a piecemeal basis.” Complaint Rehearing

Order P 29, JA ___.




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     Consumers’ Counsel (Br. 44-45) points to cases that are not

actually to the contrary. See Gulf S. Pipeline Co. v. FERC, 955 F.3d

1001, 1014 (D.C. Cir. 2020) (noting that a pipeline can choose to specify

a rate of return outside of a black-box settlement — that is, with details

of components, costs, and methodology — if it wishes to establish a

Commission-approved rate of return for use going forward) (citing

cases); N.C. Elec. Membership Corp. v. Duke Energy Carolinas, LLC,

155 FERC ¶ 61,048 PP 2-5 (2016) (finding that an overall return on

equity may have been rendered unjust and unreasonable, based on the

Commission’s change in methodology); Golden Spread Elec. Coop., Inc.

v. Sw. Pub. Serv. Co., 150 FERC ¶ 61,052 P 3 (2015) (allowing a

challenge to a negotiated return on equity where the settlement had

expressly “reserved the parties’ rights to seek changes to the negotiated

[return on equity] through filings with the Commission”).

     Because the utilities with granted Adders and those without are

not similarly situated, treating their rates differently is not

impermissibly discriminatory. Nor is it discriminatory, as Consumers’

Counsel contends (Br. 51), that some customers will continue to pay

Participation Adders to Duke and American (as well as to other



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transmission owners in PJM whose participation is not required by

state law). See, e.g., United Mun. Distribs. Grp., 732 F.2d at 212 (noting

that “a rate disparity among customers of the same public utility that

was solely the result of a settlement among some of the parties was not

unlawfully discriminatory”) (citing Cities of Bethany v. FERC, 727 F.2d

1131, 1138-40 (D.C. Cir. 1984)).

      Furthermore, because the Commission never granted

Participation Adders to Duke and American, they are not entitled to

such Adders for the purpose of any future rate cases. Cf. California I,

879 F.3d at 980. Should Duke, American, or any other Ohio utility seek

specific Commission approval for Participation Adders, they too would

be subject to the precedential effect of the Dayton Orders.

IV.   THE REMAINING ARGUMENTS OF PETITIONERS AND
      INTERVENORS ARE WITHOUT MERIT.

      A.    An Unrelated, Pre-Incentives Proceeding Is Not
            Relevant To Whether Ohio Utilities Qualify For The
            Participation Adder.

      AEP argues that the Commission disregarded its finding on

voluntariness in an unrelated 2004 proceeding. TO Br. 59-63. But the

Commission reasonably concluded that its analysis in that case, which




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predated the Incentives Rule, nearly two decades ago and in a different

statutory and regulatory context, is not determinative here.

     In 2004, the Commission resolved various issues related to the

entry of AEP’s affiliated operating companies (including Ohio Power 7)

into the PJM system. One of those issues was whether the companies’

commitment to join PJM constituted “voluntary coordination,” a

necessary element for Commission action under section 205(a) of the

Public Utility Regulatory Policies Act of 1978, 16 U.S.C. § 824a-1(a).

See New PJM Cos., 107 FERC ¶ 61,271 PP 41-44 (2004). That provision

authorizes the Commission, in certain circumstances, to exempt

utilities from state laws or regulations that “prohibit[] or prevent[] the

voluntary coordination of electric utilities.” 16 U.S.C. § 824a-1(a).

     That 2004 ruling, which predated the Incentives Rule by two

years, the orders approving the utilities’ Participation Adders by four

and six years, and the first California decision by 14 years, did not

address voluntariness as applied in the context of the Participation


7     It appears that AEP’s other Ohio affiliate, AEP Ohio, was not
involved in that proceeding because it did not yet exist. See AEP
Appalachian, 130 FERC ¶ 61,075 (2010) (accepting tariffs for seven
newly formed AEP transmission subsidiaries, including AEP Ohio).



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Adder as available under the Incentives Rule, let alone under the

analysis under California I and subsequent Commission orders that

have followed the Ninth Circuit’s holding. See Complaint Rehearing

Order P 43, JA ___.

     Moreover, the Commission did not even note the 2004 decision

when it specifically granted the Adder to Ohio Power in 2008 and to

AEP Ohio in 2010. See Am. Elec. Power, 124 FERC ¶ 61,306 P 30 (Ohio

Power); AEP Appalachian, 130 FERC ¶ 61,075 P 21 (AEP Ohio); see

supra p. 51. Nor could that past dispute about utilities’ original entry

into PJM have spoken to their continued participation two decades

later. Accordingly, the determination under the Public Utility

Regulatory Policies Act could not be “determinative” of Ohio Power’s (let

alone AEP Ohio’s) qualification for Participation Adders under the

Incentives Rule. See Complaint Rehearing Order P 43, JA ___.

     B.    Intervenor PJM’s Arguments, Which Are
           Jurisdictionally Barred, Merely Disagree With The
           Commission’s Policy Judgment.

     PJM, as an Intervenor supporting the Transmission Owners,

claims that the Commission ignored arguments and evidence of the

benefits that regional transmission organizations provide and the



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burdens on transmission-owning members. PJM Br. 13, 25-29. (PJM’s

other arguments, concerning the Commission’s interpretation of

Federal Power Act section 219, the Incentives Rule, and California I,

are substantially the same as those raised by the Transmission Owners

and addressed in Part II, supra.) In particular, PJM points to the

Commission’s denial of PJM’s motion to lodge its evidence regarding

those costs and benefits in the Dayton proceeding. Id. 27; see Dayton

Order P 10, JA ___ (describing the content of PJM’s Motion to Lodge,

DR 33). The Commission denied that motion because the evidence,

which related to PJM membership in general and to incentive policy

issues, was not relevant to the Commission’s determination on Dayton’s

application for a Participation, which would be “based on the specific

circumstances of its request . . . .” Dayton Order P 13, JA ___.

     PJM, however, failed to seek agency rehearing on any issue —

including the denial of its motion to lodge — in either of the underlying

proceedings. 8 Therefore, PJM’s argument — which no petitioner has



8      PJM filed only a Request for Clarification, in the Dayton
proceeding, concerning the relationship between that proceeding and a
separate rulemaking. DR 45, JA ___. The Commission found the
clarification “unnecessary.” Dayton Rehearing Order P 43, JA ___. As


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raised on appeal — is jurisdictionally barred. See FPA § 313(b), 16

U.S.C. § 825l(b) (“No objection to the order of the Commission shall be

considered by the court unless such objection shall have been urged

before the Commission in the application for rehearing unless there is

reasonable ground for failure so to do.”); see also Mun. Resale Serv.

Customers v. FERC, 43 F.3d 1046, 1051 (6th Cir. 1995)

(“Noncompliance with § 313 imposes a jurisdictional bar to appellate

review.”); DTE Energy Co. v. FERC, 394 F.3d 954, 961 (D.C. Cir. 2005)

(“This well-settled principle is ‘an unusually strict requirement that will

not be ignored by the courts’”) (citation omitted). Moreover, “absent

extraordinary circumstances, intervenors may join only on a matter

that has been brought before the court by a petitioner.” E. Ky. Power

Coop., Inc. v. FERC, 489 F.3d 1299, 1305 (D.C. Cir. 2007) (cleaned up).

     In any event, the Commission did address the substance of PJM’s

challenge to the Commission’s policy judgment, rejecting arguments

that it should grant Participation Adders without regard to whether

participation is voluntary or mandatory, because of the benefits and


PJM does not mention its Request or the Commission’s response, that
determination is not before the Court.



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risks of transmission organization membership. Dayton Order P 30,

JA ___. The Commission has long held “that rate incentives must be

prospective and that there must be a connection between the incentive

and the conduct meant to be induced.” California I, 879 F.3d at 977,

quoted in Dayton Order P 30, JA ___. “Consistent with that

longstanding policy, we do not believe it would be appropriate to award

an incentive for an action that the requested entity is required by law to

take, even where that action comes with substantial benefits and risks.”

Dayton Order P 30, JA ___ (emphasis added). This is exactly the kind of

policy judgment that “lie[s] at the core of [the Commission’s] regulatory

mission” and is given great deference. Int’l Transmission, 988 F.3d at

480.

       C.    Dayton Is Not Entitled To Collect An Elevated Return
             On Equity From Its Ratepayers Simply Because
             Utilities In Other States Qualify For The Incentive.

       Finally, Dayton contends that it is “at a disadvantage,” relative to

other transmission owners in PJM and the neighboring Midcontinent

region that receive the Participation Adder, “when attempting to attract

capital” to construct transmission projects. TO Br. 63-64. But the

Adder is justified only as an incentive to induce those transmission



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owners — located in states that do not require them to participate in

transmission organizations — to continue their voluntary participation.

See supra pp. 34-41. “That outcome is a result of state law, and not

because of an arbitrary application of the Commission’s criteria.”

Dayton Rehearing Order P 46, JA ___; see also id. P 47, JA ___ (noting

that the issue of voluntariness under any other state’s laws could be

addressed in future proceedings).

     Moreover, the Participation Adder — or denial thereof — is

“irrelevant” to Dayton’s ability to attract capital investment. Dayton

Order P 29, JA ___; see also Complaint Order P 77, JA ___. A utility’s

base return on equity is required “to preserve the utility’s financial

integrity and enable the utility to attract capital investment.” Dayton

Order P 29, JA ___ (citing cases). For that reason, “it is the base [return

on equity], rather than incentives such as the [Participation] Adder,

that was intended to ensure a utility’s financial integrity.” Dayton

Order P 29, JA ___. If Dayton believes its base return on equity is too

low to meet those requirements, it may file for Commission approval of

proposed changes to that rate component. But it is not entitled, absent

justification for the incentive, to recover an elevated return on equity



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from transmission ratepayers. See generally Order No. 679 P 6

(purpose of Incentives Rule “is to benefit customers by providing real

incentives to encourage new infrastructure, not simply increasing rates

in a manner that has no correlation to encouraging new investment”);

cf. id. P 26 (Commission reforms “continue to meet the just and

reasonable standard by achieving the proper balance between consumer

and investor interests on the facts of a particular case”).




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                            CONCLUSION

     For the reasons stated, the petitions should be denied and the

challenged Commission Orders should be affirmed.



                                  Respectfully submitted,

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                                  General Counsel

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                   CERTIFICATE OF COMPLIANCE

      In accordance with Fed. R. App. P. 32(a)(7)(B), (f), and (g), and
this Court’s July 12, 2023 Order, I certify that the Brief for Respondent
has been prepared in a proportionally spaced typeface (using Microsoft
Word, in 14-point Century Schoolbook) and contains 13,927 words, not
including the tables of contents and authorities, the glossary, the
certificates of counsel, and the addendum.



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                    CERTIFICATE OF SERVICE

      I hereby certify that on the 30th day of October, 2023, I
electronically filed the foregoing with the Clerk of the Court for the
United States Court of Appeals for the Sixth Circuit by using the
CM/ECF system. All participants in the case are registered CM/ECF
users and will be served by the CM/ECF system.


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     ADDENDUM
STATUTES AND REGULATIONS
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(g) Qualifying criteria for closed-loop pumped                    environmental, recreation, or other protec-
    storage projects                                              tion, mitigation, or enhancement measures re-
  (1) In general                                                  quired or authorized by the new license; and
                                                                    (2) investments by the licensee over the
    The Commission shall establish criteria that                  term of the existing license (including any
  a pumped storage project shall meet in order                    terms under annual licenses) that—
  to qualify as a closed-loop pumped storage                          (A) resulted in redevelopment, new con-
  project eligible for the expedited process es-                    struction, new capacity, efficiency, mod-
  tablished under this section.                                     ernization, rehabilitation or replacement of
  (2) Inclusions                                                    major equipment, safety improvements, or
    In establishing the criteria under paragraph                    environmental, recreation, or other protec-
  (1), the Commission shall include criteria re-                    tion, mitigation, or enhancement measures
  quiring that the pumped storage project—                          conducted over the term of the existing li-
       (A) cause little to no change to existing                    cense; and
    surface and ground water flows and uses; and                      (B) were not expressly considered by the
       (B) is unlikely to adversely affect species                  Commission as contributing to the length of
    listed as a threatened species or endangered                    the existing license term in any order estab-
    species under the Endangered Species Act of                     lishing or extending the existing license
    1973 [16 U.S.C. 1531 et seq.].                                  term.
                                                                (c) Commission determination
(h) Savings clause
                                                                  At the request of the licensee, the Commission
  Nothing in this section affects any authority
                                                                shall make a determination as to whether any
of the Commission to license a closed-loop
                                                                planned, ongoing, or completed investment
pumped storage project under this subchapter.
                                                                meets the criteria under subsection (b)(2). Any
(June 10, 1920, ch. 285, pt. I, § 35, as added Pub. L.          determination under this subsection shall be
115–270, title III, § 3004, Oct. 23, 2018, 132 Stat.            issued within 60 days following receipt of the li-
3865.)                                                          censee’s request. When issuing its determination
                                                                under this subsection, the Commission shall not
                      Editorial Notes                           assess the incremental number of years that the
                                                                investment may add to the new license term. All
                  REFERENCES IN TEXT
                                                                such assessment shall occur only as provided in
   The Fish and Wildlife Coordination Act, referred to          subsection (a).
in subsec. (c)(2), (3)(A), is act Mar. 10, 1934, ch. 55, 48
Stat. 401, which is classified generally to sections 661 to     (June 10, 1920, ch. 285, pt. I, § 36, as added Pub. L.
666c–1 of this title. For complete classification of this       115–270, title III, § 3005, Oct. 23, 2018, 132 Stat.
Act to the Code, see section 661(a) of this title, Short        3867.)
Title note set out under section 661 of this title, and
Tables.                                                         SUBCHAPTER II—REGULATION OF ELEC-
   The National Environmental Policy Act of 1969, re-            TRIC UTILITY COMPANIES ENGAGED IN
ferred to in subsec. (e), is Pub. L. 91–190, Jan. 1, 1970, 83    INTERSTATE COMMERCE
Stat. 852, which is classified generally to chapter 55
(§ 4321 et seq.) of Title 42, The Public Health and Wel-        § 824. Declaration of policy; application of sub-
fare. For complete classification of this Act to the                chapter
Code, see Short Title note set out under section 4321 of
Title 42 and Tables.                                            (a) Federal regulation of transmission and sale
   The Endangered Species Act of 1973, referred to in               of electric energy
subsec. (g)(2)(B), is Pub. L. 93–205, Dec. 28, 1973, 87 Stat.     It is declared that the business of transmitting
884, which is classified principally to chapter 35 (§ 1531
et seq.) of this title. For complete classification of this
                                                                and selling electric energy for ultimate distribu-
Act to the Code, see Short Title note set out under sec-        tion to the public is affected with a public inter-
tion 1531 of this title and Tables.                             est, and that Federal regulation of matters re-
                                                                lating to generation to the extent provided in
§ 823g. Considerations for relicensing terms                    this subchapter and subchapter III of this chap-
                                                                ter and of that part of such business which con-
(a) In general
                                                                sists of the transmission of electric energy in
  In determining the term of a new license                      interstate commerce and the sale of such energy
issued when an existing license under this sub-                 at wholesale in interstate commerce is nec-
chapter expires, the Commission shall take into                 essary in the public interest, such Federal regu-
consideration, among other things—                              lation, however, to extend only to those matters
     (1) project-related investments by the li-                 which are not subject to regulation by the
  censee under the new license; and                             States.
     (2) project-related investments by the li-                 (b) Use or sale of electric energy in interstate
  censee over the term of the existing license.                     commerce
(b) Equal weight                                                  (1) The provisions of this subchapter shall
  The determination of the Commission under                     apply to the transmission of electric energy in
subsection (a) shall give equal weight to—                      interstate commerce and to the sale of electric
     (1) investments by the licensee to implement               energy at wholesale in interstate commerce, but
  the new license under this subchapter, includ-                except as provided in paragraph (2) shall not
  ing investments relating to redevelopment,                    apply to any other sale of electric energy or de-
  new construction, new capacity, efficiency,                   prive a State or State commission of its lawful
  modernization, rehabilitation or replacement                  authority now exercised over the exportation of
  of major equipment, safety improvements, or                   hydroelectric energy which is transmitted




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across a State line. The Commission shall have                      ing as such in the course of his official duty, un-
jurisdiction over all facilities for such trans-                    less such provision makes specific reference
mission or sale of electric energy, but shall not                   thereto.
have jurisdiction, except as specifically provided                  (g) Books and records
in this subchapter and subchapter III of this
                                                                      (1) Upon written order of a State commission,
chapter, over facilities used for the generation
                                                                    a State commission may examine the books, ac-
of electric energy or over facilities used in local
                                                                    counts, memoranda, contracts, and records of—
distribution or only for the transmission of elec-                      (A) an electric utility company subject to its
tric energy in intrastate commerce, or over fa-                       regulatory authority under State law,
cilities for the transmission of electric energy                        (B) any exempt wholesale generator selling
consumed wholly by the transmitter.                                   energy at wholesale to such electric utility,
   (2) Notwithstanding subsection (f), the provi-                     and
sions of sections 824b(a)(2), 824e(e), 824i, 824j,                      (C) any electric utility company, or holding
824j–1, 824k, 824o, 824o–1, 824p, 824q, 824r, 824s,                   company thereof, which is an associate com-
824t, 824u, and 824v of this title shall apply to                     pany or affiliate of an exempt wholesale gener-
the entities described in such provisions, and                        ator which sells electric energy to an electric
such entities shall be subject to the jurisdiction                    utility company referred to in subparagraph
of the Commission for purposes of carrying out                        (A),
such provisions and for purposes of applying the
enforcement authorities of this chapter with re-                    wherever located, if such examination is re-
spect to such provisions. Compliance with any                       quired for the effective discharge of the State
order or rule of the Commission under the provi-                    commission’s regulatory responsibilities affect-
sions of section 824b(a)(2), 824e(e), 824i, 824j,                   ing the provision of electric service.
824j–1, 824k, 824o, 824o–1, 824p, 824q, 824r, 824s,                   (2) Where a State commission issues an order
824t, 824u, or 824v of this title, shall not make an                pursuant to paragraph (1), the State commission
electric utility or other entity subject to the ju-                 shall not publicly disclose trade secrets or sen-
risdiction of the Commission for any purposes                       sitive commercial information.
other than the purposes specified in the pre-                         (3) Any United States district court located in
ceding sentence.                                                    the State in which the State commission re-
                                                                    ferred to in paragraph (1) is located shall have
(c) Electric energy in interstate commerce                          jurisdiction to enforce compliance with this sub-
   For the purpose of this subchapter, electric                     section.
energy shall be held to be transmitted in inter-                      (4) Nothing in this section shall—
state commerce if transmitted from a State and                          (A) preempt applicable State law concerning
consumed at any point outside thereof; but only                       the provision of records and other informa-
insofar as such transmission takes place within                       tion; or
the United States.                                                      (B) in any way limit rights to obtain records
(d) ‘‘Sale of electric energy at wholesale’’ defined                  and other information under Federal law, con-
                                                                      tracts, or otherwise.
   The term ‘‘sale of electric energy at whole-
sale’’ when used in this subchapter, means a sale                     (5) As used in this subsection the terms ‘‘affil-
of electric energy to any person for resale.                        iate’’, ‘‘associate company’’, ‘‘electric utility
                                                                    company’’, ‘‘holding company’’, ‘‘subsidiary
(e) ‘‘Public utility’’ defined                                      company’’, and ‘‘exempt wholesale generator’’
   The term ‘‘public utility’’ when used in this                    shall have the same meaning as when used in
subchapter and subchapter III of this chapter                       the Public Utility Holding Company Act of 2005
means any person who owns or operates facili-                       [42 U.S.C. 16451 et seq.].
ties subject to the jurisdiction of the Commis-
                                                                    (June 10, 1920, ch. 285, pt. II, § 201, as added Aug.
sion under this subchapter (other than facilities
                                                                    26, 1935, ch. 687, title II, § 213, 49 Stat. 847; amend-
subject to such jurisdiction solely by reason of
                                                                    ed Pub. L. 95–617, title II, § 204(b), Nov. 9, 1978, 92
section 824e(e), 824e(f),1 824i, 824j, 824j–1, 824k,
                                                                    Stat. 3140; Pub. L. 102–486, title VII, § 714, Oct. 24,
824o, 824o–1, 824p, 824q, 824r, 824s, 824t, 824u, or
                                                                    1992, 106 Stat. 2911; Pub. L. 109–58, title XII,
824v of this title).
                                                                    §§ 1277(b)(1), 1291(c), 1295(a), Aug. 8, 2005, 119 Stat.
(f) United States, State, political subdivision of a                978, 985; Pub. L. 114–94, div. F, § 61003(b), Dec. 4,
     State, or agency or instrumentality thereof                    2015, 129 Stat. 1778.)
     exempt
   No provision in this subchapter shall apply to,                                        Editorial Notes
or be deemed to include, the United States, a                                         REFERENCES IN TEXT
State or any political subdivision of a State, an                      The Rural Electrification Act of 1936, referred to in
electric cooperative that receives financing                        subsec. (f), is act May 20, 1936, ch. 432, 49 Stat. 1363, as
under the Rural Electrification Act of 1936 (7                      amended, which is classified generally to chapter 31
U.S.C. 901 et seq.) or that sells less than 4,000,000               (§ 901 et seq.) of Title 7, Agriculture. For complete clas-
megawatt hours of electricity per year, or any                      sification of this Act to the Code, see section 901 of
agency, authority, or instrumentality of any                        Title 7 and Tables.
one or more of the foregoing, or any corporation                       The Public Utility Holding Company Act of 2005, re-
                                                                    ferred to in subsec. (g)(5), is subtitle F of title XII of
which is wholly owned, directly or indirectly, by
                                                                    Pub. L. 109–58, Aug. 8, 2005, 119 Stat. 972, which is classi-
any one or more of the foregoing, or any officer,                   fied principally to part D (§ 16451 et seq.) of subchapter
agent, or employee of any of the foregoing act-                     XII of chapter 149 of Title 42, The Public Health and
                                                                    Welfare. For complete classification of this Act to the
  1 So in original. Section 824e of this title does not contain a   Code, see Short Title note set out under section 15801
subsec. (f).                                                        of Title 42 and Tables.




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                        AMENDMENTS                                  limit, impair or otherwise affect any authority of the
                                                                    Commission or any other agency or instrumentality of
   2015—Subsec. (b)(2). Pub. L. 114–94, § 61003(b)(1), in-
                                                                    the United States under any other provision of law ex-
serted ‘‘824o–1,’’ after ‘‘824o,’’ in two places.
                                                                    cept as specifically provided in this title.’’
   Subsec. (e). Pub. L. 114–94, § 61003(b)(2), inserted
‘‘824o–1,’’ after ‘‘824o,’’.                                        § 824a. Interconnection and coordination of fa-
   2005—Subsec. (b)(2). Pub. L. 109–58, § 1295(a)(1), sub-              cilities; emergencies; transmission to foreign
stituted ‘‘Notwithstanding subsection (f), the provi-
sions of sections 824b(a)(2), 824e(e), 824i, 824j, 824j–1,
                                                                        countries
824k, 824o, 824p, 824q, 824r, 824s, 824t, 824u, and 824v of         (a) Regional districts; establishment; notice to
this title’’ for ‘‘The provisions of sections 824i, 824j, and           State commissions
824k of this title’’ and ‘‘Compliance with any order or
rule of the Commission under the provisions of section                For the purpose of assuring an abundant sup-
824b(a)(2), 824e(e), 824i, 824j, 824j–1, 824k, 824o, 824p, 824q,    ply of electric energy throughout the United
824r, 824s, 824t, 824u, or 824v of this title’’ for ‘‘Compli-       States with the greatest possible economy and
ance with any order of the Commission under the provi-              with regard to the proper utilization and con-
sions of section 824i or 824j of this title’’.                      servation of natural resources, the Commission
   Subsec. (e). Pub. L. 109–58, § 1295(a)(2), substituted           is empowered and directed to divide the country
‘‘section 824e(e), 824e(f), 824i, 824j, 824j–1, 824k, 824o, 824p,   into regional districts for the voluntary inter-
824q, 824r, 824s, 824t, 824u, or 824v of this title’’ for ‘‘sec-
                                                                    connection and coordination of facilities for the
tion 824i, 824j, or 824k of this title’’.
   Subsec. (f). Pub. L. 109–58, § 1291(c), which directed           generation, transmission, and sale of electric en-
amendment of subsec. (f) by substituting ‘‘political                ergy, and it may at any time thereafter, upon
subdivision of a State, an electric cooperative that re-            its own motion or upon application, make such
ceives financing under the Rural Electrification Act of             modifications thereof as in its judgment will
1936 (7 U.S.C. 901 et seq.) or that sells less than 4,000,000       promote the public interest. Each such district
megawatt hours of electricity per year,’’ for ‘‘political           shall embrace an area which, in the judgment of
subdivision of a state,’’, was executed by making the               the Commission, can economically be served by
substitution for ‘‘political subdivision of a State,’’ to
                                                                    such interconnection and coordinated electric
reflect the probable intent of Congress.
   Subsec. (g)(5). Pub. L. 109–58, § 1277(b)(1), substituted        facilities. It shall be the duty of the Commission
‘‘2005’’ for ‘‘1935’’.                                              to promote and encourage such interconnection
   1992—Subsec. (g). Pub. L. 102–486 added subsec. (g).             and coordination within each such district and
   1978—Subsec. (b). Pub. L. 95–617, § 204(b)(1), designated        between such districts. Before establishing any
existing provisions as par. (1), inserted ‘‘except as pro-          such district and fixing or modifying the bound-
vided in paragraph (2)’’ after ‘‘in interstate commerce,            aries thereof the Commission shall give notice
but’’, and added par. (2).                                          to the State commission of each State situated
   Subsec. (e). Pub. L. 95–617, § 204(b)(2), inserted ‘‘(other
                                                                    wholly or in part within such district, and shall
than facilities subject to such jurisdiction solely by
reason of section 824i, 824j, or 824k of this title)’’ after        afford each such State commission reasonable
‘‘under this subchapter’’.                                          opportunity to present its views and rec-
                                                                    ommendations, and shall receive and consider
       Statutory Notes and Related Subsidiaries                     such views and recommendations.
                                                                    (b) Sale or exchange of energy; establishing
          EFFECTIVE DATE OF 2005 AMENDMENT
                                                                        physical connections
  Amendment by section 1277(b)(1) of Pub. L. 109–58 ef-               Whenever the Commission, upon application of
fective 6 months after Aug. 8, 2005, with provisions re-
lating to effect of compliance with certain regulations
                                                                    any State commission or of any person engaged
approved and made effective prior to such date, see sec-            in the transmission or sale of electric energy,
tion 1274 of Pub. L. 109–58, set out as an Effective Date           and after notice to each State commission and
note under section 16451 of Title 42, The Public Health             public utility affected and after opportunity for
and Welfare.                                                        hearing, finds such action necessary or appro-
                                                                    priate in the public interest it may by order di-
           STATE AUTHORITIES; CONSTRUCTION
                                                                    rect a public utility (if the Commission finds
  Nothing in amendment by Pub. L. 102–486 to be con-                that no undue burden will be placed upon such
strued as affecting or intending to affect, or in any way           public utility thereby) to establish physical con-
to interfere with, authority of any State or local gov-             nection of its transmission facilities with the fa-
ernment relating to environmental protection or siting
of facilities, see section 731 of Pub. L. 102–486, set out
                                                                    cilities of one or more other persons engaged in
as a note under section 796 of this title.                          the transmission or sale of electric energy, to
                                                                    sell energy to or exchange energy with such per-
    PRIOR ACTIONS; EFFECT ON OTHER AUTHORITIES                      sons: Provided, That the Commission shall have
  Pub. L. 95–617, title II, § 214, Nov. 9, 1978, 92 Stat. 3149,     no authority to compel the enlargement of gen-
provided that:                                                      erating facilities for such purposes, nor to com-
  ‘‘(a) PRIOR ACTIONS.—No provision of this title [enact-           pel such public utility to sell or exchange en-
ing sections 823a, 824i to 824k, 824a–1 to 824a–3 and               ergy when to do so would impair its ability to
825q–1 of this title, amending sections 796, 824, 824a,             render adequate service to its customers. The
824d, and 825d of this title and enacting provisions set            Commission may prescribe the terms and condi-
out as notes under sections 824a, 824d, and 825d of this
title] or of any amendment made by this title shall
                                                                    tions of the arrangement to be made between
apply to, or affect, any action taken by the Commis-                the persons affected by any such order, includ-
sion [Federal Energy Regulatory Commission] before                  ing the apportionment of cost between them and
the date of the enactment of this Act [Nov. 9, 1978].               the compensation or reimbursement reasonably
  ‘‘(b) OTHER AUTHORITIES.—No provision of this title               due to any of them.
[enacting sections 823a, 824i to 824k, 824a–1 to 824a–3 and         (c) Temporary connection and exchange of facili-
825q–1 of this title, amending sections 796, 824, 824a,
                                                                        ties during emergency
824d, and 825d of this title and enacting provisions set
out as notes under sections 824a, 824d, and 825d of this              (1) During the continuance of any war in
title] or of any amendment made by this title shall                 which the United States is engaged, or whenever




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                 TRANSFER OF FUNCTIONS                           complaint or upon its own initiative without
  Executive and administrative functions of Securities           complaint, at once, and, if it so orders, without
and Exchange Commission, with certain exceptions,                answer or formal pleading by the public utility,
transferred to Chairman of such Commission, with au-             but upon reasonable notice, to enter upon a
thority vested in him to authorize their performance             hearing concerning the lawfulness of such rate,
by any officer, employee, or administrative unit under           charge, classification, or service; and, pending
his jurisdiction, by Reorg. Plan No. 10 of 1950, §§ 1, 2, eff.
May 24, 1950, 15 F.R. 3175, 64 Stat. 1265, set out in the
                                                                 such hearing and the decision thereon, the Com-
Appendix to Title 5, Government Organization and Em-             mission, upon filing with such schedules and de-
ployees.                                                         livering to the public utility affected thereby a
                                                                 statement in writing of its reasons for such sus-
§ 824d. Rates and charges; schedules; suspension                 pension, may suspend the operation of such
    of new rates; automatic adjustment clauses                   schedule and defer the use of such rate, charge,
(a) Just and reasonable rates                                    classification, or service, but not for a longer pe-
   All rates and charges made, demanded, or re-                  riod than five months beyond the time when it
ceived by any public utility for or in connection                would otherwise go into effect; and after full
with the transmission or sale of electric energy                 hearings, either completed before or after the
subject to the jurisdiction of the Commission,                   rate, charge, classification, or service goes into
and all rules and regulations affecting or per-                  effect, the Commission may make such orders
taining to such rates or charges shall be just and               with reference thereto as would be proper in a
reasonable, and any such rate or charge that is                  proceeding initiated after it had become effec-
not just and reasonable is hereby declared to be                 tive. If the proceeding has not been concluded
unlawful.                                                        and an order made at the expiration of such five
(b) Preference or advantage unlawful                             months, the proposed change of rate, charge,
                                                                 classification, or service shall go into effect at
   No public utility shall, with respect to any                  the end of such period, but in case of a proposed
transmission or sale subject to the jurisdiction                 increased rate or charge, the Commission may
of the Commission, (1) make or grant any undue                   by order require the interested public utility or
preference or advantage to any person or subject                 public utilities to keep accurate account in de-
any person to any undue prejudice or disadvan-                   tail of all amounts received by reason of such in-
tage, or (2) maintain any unreasonable dif-                      crease, specifying by whom and in whose behalf
ference in rates, charges, service, facilities, or in            such amounts are paid, and upon completion of
any other respect, either as between localities                  the hearing and decision may by further order
or as between classes of service.                                require such public utility or public utilities to
(c) Schedules                                                    refund, with interest, to the persons in whose
   Under such rules and regulations as the Com-                  behalf such amounts were paid, such portion of
mission may prescribe, every public utility shall                such increased rates or charges as by its deci-
file with the Commission, within such time and                   sion shall be found not justified. At any hearing
in such form as the Commission may designate,                    involving a rate or charge sought to be in-
and shall keep open in convenient form and                       creased, the burden of proof to show that the in-
place for public inspection schedules showing all                creased rate or charge is just and reasonable
rates and charges for any transmission or sale                   shall be upon the public utility, and the Com-
subject to the jurisdiction of the Commission,                   mission shall give to the hearing and decision of
and the classifications, practices, and regula-                  such questions preference over other questions
tions affecting such rates and charges, together                 pending before it and decide the same as speed-
with all contracts which in any manner affect or                 ily as possible.
relate to such rates, charges, classifications, and              (f) Review of automatic adjustment clauses and
services.                                                             public utility practices; action by Commis-
(d) Notice required for rate changes                                  sion; ‘‘automatic adjustment clause’’ defined
   Unless the Commission otherwise orders, no                       (1) Not later than 2 years after November 9,
change shall be made by any public utility in                    1978, and not less often than every 4 years there-
any such rate, charge, classification, or service,               after, the Commission shall make a thorough re-
or in any rule, regulation, or contract relating                 view of automatic adjustment clauses in public
thereto, except after sixty days’ notice to the                  utility rate schedules to examine—
Commission and to the public. Such notice shall                       (A) whether or not each such clause effec-
be given by filing with the Commission and                          tively provides incentives for efficient use of
keeping open for public inspection new sched-                       resources (including economical purchase and
ules stating plainly the change or changes to be                    use of fuel and electric energy), and
made in the schedule or schedules then in force                       (B) whether any such clause reflects any
and the time when the change or changes will go                     costs other than costs which are—
into effect. The Commission, for good cause                             (i) subject to periodic fluctuations and
shown, may allow changes to take effect with-                           (ii) not susceptible to precise determina-
out requiring the sixty days’ notice herein pro-                      tions in rate cases prior to the time such
vided for by an order specifying the changes so                       costs are incurred.
to be made and the time when they shall take
                                                                 Such review may take place in individual rate
effect and the manner in which they shall be
                                                                 proceedings or in generic or other separate pro-
filed and published.
                                                                 ceedings applicable to one or more utilities.
(e) Suspension of new rates; hearings; five-month                  (2) Not less frequently than every 2 years, in
     period                                                      rate proceedings or in generic or other separate
   Whenever any such new schedule is filed the                   proceedings, the Commission shall review, with
Commission shall have authority, either upon                     respect to each public utility, practices under




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any automatic adjustment clauses of such util-               fication is unjust, unreasonable, unduly dis-
ity to insure efficient use of resources (including          criminatory or preferential, the Commission
economical purchase and use of fuel and electric             shall determine the just and reasonable rate,
energy) under such clauses.                                  charge, classification, rule, regulation, practice,
  (3) The Commission may, on its own motion or               or contract to be thereafter observed and in
upon complaint, after an opportunity for an evi-             force, and shall fix the same by order. Any com-
dentiary hearing, order a public utility to—                 plaint or motion of the Commission to initiate
    (A) modify the terms and provisions of any               a proceeding under this section shall state the
  automatic adjustment clause, or                            change or changes to be made in the rate,
    (B) cease any practice in connection with                charge, classification, rule, regulation, practice,
  the clause,                                                or contract then in force, and the reasons for
if such clause or practice does not result in the            any proposed change or changes therein. If, after
economical purchase and use of fuel, electric en-            review of any motion or complaint and answer,
ergy, or other items, the cost of which is in-               the Commission shall decide to hold a hearing,
cluded in any rate schedule under an automatic               it shall fix by order the time and place of such
adjustment clause.                                           hearing and shall specify the issues to be adju-
  (4) As used in this subsection, the term ‘‘auto-           dicated.
matic adjustment clause’’ means a provision of               (b) Refund effective date; preferential proceed-
a rate schedule which provides for increases or                  ings; statement of reasons for delay; burden
decreases (or both), without prior hearing, in                   of proof; scope of refund order; refund or-
rates reflecting increases or decreases (or both)                ders in cases of dilatory behavior; interest
in costs incurred by an electric utility. Such                 Whenever the Commission institutes a pro-
term does not include any rate which takes ef-               ceeding under this section, the Commission
fect subject to refund and subject to a later de-            shall establish a refund effective date. In the
termination of the appropriate amount of such                case of a proceeding instituted on complaint,
rate.                                                        the refund effective date shall not be earlier
(June 10, 1920, ch. 285, pt. II, § 205, as added Aug.        than the date of the filing of such complaint nor
26, 1935, ch. 687, title II, § 213, 49 Stat. 851; amend-     later than 5 months after the filing of such com-
ed Pub. L. 95–617, title II, §§ 207(a), 208, Nov. 9,         plaint. In the case of a proceeding instituted by
1978, 92 Stat. 3142.)                                        the Commission on its own motion, the refund
                                                             effective date shall not be earlier than the date
                      AMENDMENTS                             of the publication by the Commission of notice
   1978—Subsec. (d). Pub. L. 95–617, § 207(a), substituted   of its intention to initiate such proceeding nor
‘‘sixty’’ for ‘‘thirty’’ in two places.                      later than 5 months after the publication date.
   Subsec. (f). Pub. L. 95–617, § 208, added subsec. (f).    Upon institution of a proceeding under this sec-
STUDY OF ELECTRIC RATE INCREASES UNDER FEDERAL               tion, the Commission shall give to the decision
                  POWER ACT                                  of such proceeding the same preference as pro-
                                                             vided under section 824d of this title and other-
  Section 207(b) of Pub. L. 95–617 directed chairman of
Federal Energy Regulatory Commission, in consulta-
                                                             wise act as speedily as possible. If no final deci-
tion with Secretary, to conduct a study of legal re-         sion is rendered by the conclusion of the 180-day
quirements and administrative procedures involved in         period commencing upon initiation of a proceed-
consideration and resolution of proposed wholesale           ing pursuant to this section, the Commission
electric rate increases under Federal Power Act, sec-        shall state the reasons why it has failed to do so
tion 791a et seq. of this title, for purposes of providing   and shall state its best estimate as to when it
for expeditious handling of hearings consistent with         reasonably expects to make such decision. In
due process, preventing imposition of successive rate        any proceeding under this section, the burden of
increases before they have been determined by Com-
mission to be just and reasonable and otherwise lawful,
                                                             proof to show that any rate, charge, classifica-
and improving procedures designed to prohibit anti-          tion, rule, regulation, practice, or contract is
competitive or unreasonable differences in wholesale         unjust, unreasonable, unduly discriminatory, or
and retail rates, or both, and that chairman report to       preferential shall be upon the Commission or
Congress within nine months from Nov. 9, 1978, on re-        the complainant. At the conclusion of any pro-
sults of study, on administrative actions taken as a re-     ceeding under this section, the Commission may
sult of this study, and on any recommendations for           order refunds of any amounts paid, for the pe-
changes in existing law that will aid purposes of this       riod subsequent to the refund effective date
section.
                                                             through a date fifteen months after such refund
§ 824e. Power of Commission to fix rates and                 effective date, in excess of those which would
    charges; determination of cost of production             have been paid under the just and reasonable
    or transmission                                          rate, charge, classification, rule, regulation,
                                                             practice, or contract which the Commission or-
(a) Unjust or preferential rates, etc.; statement of         ders to be thereafter observed and in force: Pro-
    reasons for changes; hearing; specification of           vided, That if the proceeding is not concluded
    issues                                                   within fifteen months after the refund effective
  Whenever the Commission, after a hearing                   date and if the Commission determines at the
held upon its own motion or upon complaint,                  conclusion of the proceeding that the proceeding
shall find that any rate, charge, or classifica-             was not resolved within the fifteen-month pe-
tion, demanded, observed, charged, or collected              riod primarily because of dilatory behavior by
by any public utility for any transmission or                the public utility, the Commission may order re-
sale subject to the jurisdiction of the Commis-              funds of any or all amounts paid for the period
sion, or that any rule, regulation, practice, or             subsequent to the refund effective date and prior
contract affecting such rate, charge, or classi-             to the conclusion of the proceeding. The refunds




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                     Editorial Notes                         than the date of the filing of such complaint nor
                      AMENDMENTS
                                                             later than 5 months after the filing of such com-
                                                             plaint. In the case of a proceeding instituted by
   2018—Subsec. (g). Pub. L. 115–270 added subsec. (g).      the Commission on its own motion, the refund
   1978—Subsec. (d). Pub. L. 95–617, § 207(a), substituted   effective date shall not be earlier than the date
‘‘sixty’’ for ‘‘thirty’’ in two places.
   Subsec. (f). Pub. L. 95–617, § 208, added subsec. (f).
                                                             of the publication by the Commission of notice
                                                             of its intention to initiate such proceeding nor
       Statutory Notes and Related Subsidiaries
                                                             later than 5 months after the publication date.
                                                             Upon institution of a proceeding under this sec-
STUDY OF ELECTRIC RATE INCREASES UNDER FEDERAL               tion, the Commission shall give to the decision
                  POWER ACT                                  of such proceeding the same preference as pro-
  Section 207(b) of Pub. L. 95–617 directed chairman of      vided under section 824d of this title and other-
Federal Energy Regulatory Commission, in consulta-           wise act as speedily as possible. If no final deci-
tion with Secretary, to conduct a study of legal re-         sion is rendered by the conclusion of the 180-day
quirements and administrative procedures involved in         period commencing upon initiation of a pro-
consideration and resolution of proposed wholesale           ceeding pursuant to this section, the Commis-
electric rate increases under Federal Power Act, sec-        sion shall state the reasons why it has failed to
tion 791a et seq. of this title, for purposes of providing
for expeditious handling of hearings consistent with
                                                             do so and shall state its best estimate as to
due process, preventing imposition of successive rate        when it reasonably expects to make such deci-
increases before they have been determined by Com-           sion. In any proceeding under this section, the
mission to be just and reasonable and otherwise lawful,      burden of proof to show that any rate, charge,
and improving procedures designed to prohibit anti-          classification, rule, regulation, practice, or con-
competitive or unreasonable differences in wholesale         tract is unjust, unreasonable, unduly discrimi-
and retail rates, or both, and that chairman report to       natory, or preferential shall be upon the Com-
Congress within nine months from Nov. 9, 1978, on re-        mission or the complainant. At the conclusion
sults of study, on administrative actions taken as a re-
sult of this study, and on any recommendations for
                                                             of any proceeding under this section, the Com-
changes in existing law that will aid purposes of this       mission may order refunds of any amounts paid,
section.                                                     for the period subsequent to the refund effective
                                                             date through a date fifteen months after such
§ 824e. Power of Commission to fix rates and                 refund effective date, in excess of those which
    charges; determination of cost of production             would have been paid under the just and reason-
    or transmission                                          able rate, charge, classification, rule, regula-
                                                             tion, practice, or contract which the Commis-
(a) Unjust or preferential rates, etc.; statement of
                                                             sion orders to be thereafter observed and in
    reasons for changes; hearing; specification of
                                                             force: Provided, That if the proceeding is not
    issues
                                                             concluded within fifteen months after the refund
  Whenever the Commission, after a hearing                   effective date and if the Commission determines
held upon its own motion or upon complaint,                  at the conclusion of the proceeding that the pro-
shall find that any rate, charge, or classifica-             ceeding was not resolved within the fifteen-
tion, demanded, observed, charged, or collected              month period primarily because of dilatory be-
by any public utility for any transmission or                havior by the public utility, the Commission
sale subject to the jurisdiction of the Commis-              may order refunds of any or all amounts paid for
sion, or that any rule, regulation, practice, or             the period subsequent to the refund effective
contract affecting such rate, charge, or classi-             date and prior to the conclusion of the pro-
fication is unjust, unreasonable, unduly dis-                ceeding. The refunds shall be made, with inter-
criminatory or preferential, the Commission                  est, to those persons who have paid those rates
shall determine the just and reasonable rate,                or charges which are the subject of the pro-
charge, classification, rule, regulation, practice,          ceeding.
or contract to be thereafter observed and in                 (c) Refund considerations; shifting costs; reduc-
force, and shall fix the same by order. Any com-                 tion in revenues; ‘‘electric utility companies’’
plaint or motion of the Commission to initiate                   and ‘‘registered holding company’’ defined
a proceeding under this section shall state the
change or changes to be made in the rate,                      Notwithstanding subsection (b), in a pro-
charge, classification, rule, regulation, practice,          ceeding commenced under this section involving
or contract then in force, and the reasons for               two or more electric utility companies of a reg-
any proposed change or changes therein. If, after            istered holding company, refunds which might
review of any motion or complaint and answer,                otherwise be payable under subsection (b) shall
the Commission shall decide to hold a hearing,               not be ordered to the extent that such refunds
it shall fix by order the time and place of such             would result from any portion of a Commission
hearing and shall specify the issues to be adju-             order that (1) requires a decrease in system pro-
dicated.                                                     duction or transmission costs to be paid by one
                                                             or more of such electric companies; and (2) is
(b) Refund effective date; preferential pro-                 based upon a determination that the amount of
    ceedings; statement of reasons for delay; bur-           such decrease should be paid through an in-
    den of proof; scope of refund order; refund              crease in the costs to be paid by other electric
    orders in cases of dilatory behavior; interest           utility companies of such registered holding
  Whenever the Commission institutes a pro-                  company: Provided, That refunds, in whole or in
ceeding under this section, the Commission                   part, may be ordered by the Commission if it de-
shall establish a refund effective date. In the              termines that the registered holding company
case of a proceeding instituted on complaint,                would not experience any reduction in revenues
the refund effective date shall not be earlier               which results from an inability of an electric




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utility company of the holding company to re-          (June 10, 1920, ch. 285, pt. II, § 206, as added Aug.
cover such increase in costs for the period be-        26, 1935, ch. 687, title II, § 213, 49 Stat. 852; amend-
tween the refund effective date and the effective      ed Pub. L. 100–473, § 2, Oct. 6, 1988, 102 Stat. 2299;
date of the Commission’s order. For purposes of        Pub. L. 109–58, title XII, §§ 1285, 1286, 1295(b), Aug.
this subsection, the terms ‘‘electric utility com-     8, 2005, 119 Stat. 980, 981, 985.)
panies’’ and ‘‘registered holding company’’ shall
have the same meanings as provided in the Pub-                               Editorial Notes
lic Utility Holding Company Act of 1935, as                               REFERENCES IN TEXT
amended.1
                                                          The Public Utility Holding Company Act of 1935, re-
(d) Investigation of costs
                                                       ferred to in subsec. (c), is title I of act Aug. 26, 1935, ch.
  The Commission upon its own motion, or upon          687, 49 Stat. 803, as amended, which was classified gen-
the request of any State commission whenever           erally to chapter 2C (§ 79 et seq.) of Title 15, Commerce
it can do so without prejudice to the efficient        and Trade, prior to repeal by Pub. L. 109–58, title XII,
and proper conduct of its affairs, may inves-          § 1263, Aug. 8, 2005, 119 Stat. 974. For complete classifica-
tigate and determine the cost of the production        tion of this Act to the Code, see Tables.
or transmission of electric energy by means of                                AMENDMENTS
facilities under the jurisdiction of the Commis-
                                                          2005—Subsec. (a). Pub. L. 109–58, § 1295(b)(1), sub-
sion in cases where the Commission has no au-          stituted ‘‘hearing held’’ for ‘‘hearing had’’ in first sen-
thority to establish a rate governing the sale of      tence.
such energy.                                              Subsec. (b). Pub. L. 109–58, § 1295(b)(2), struck out ‘‘the
(e) Short-term sales                                   public utility to make’’ before ‘‘refunds of any amounts
  (1) In this subsection:                              paid’’ in seventh sentence.
                                                          Pub. L. 109–58, § 1285, in second sentence, substituted
     (A) The term ‘‘short-term sale’’ means an
                                                       ‘‘the date of the filing of such complaint nor later than
  agreement for the sale of electric energy at         5 months after the filing of such complaint’’ for ‘‘the
  wholesale in interstate commerce that is for a       date 60 days after the filing of such complaint nor later
  period of 31 days or less (excluding monthly         than 5 months after the expiration of such 60-day pe-
  contracts subject to automatic renewal).             riod’’, in third sentence, substituted ‘‘the date of the
     (B) The term ‘‘applicable Commission rule’’       publication’’ for ‘‘the date 60 days after the publica-
  means a Commission rule applicable to sales          tion’’ and ‘‘5 months after the publication date’’ for ‘‘5
  at wholesale by public utilities that the Com-       months after the expiration of such 60-day period’’, and
  mission determines after notice and comment          in fifth sentence, substituted ‘‘If no final decision is
  should also be applicable to entities subject to     rendered by the conclusion of the 180-day period com-
                                                       mencing upon initiation of a proceeding pursuant to
  this subsection.
                                                       this section, the Commission shall state the reasons
   (2) If an entity described in section 824(f) of     why it has failed to do so and shall state its best esti-
this title voluntarily makes a short-term sale of      mate as to when it reasonably expects to make such de-
electric energy through an organized market in         cision’’ for ‘‘If no final decision is rendered by the re-
which the rates for the sale are established by        fund effective date or by the conclusion of the 180-day
                                                       period commencing upon initiation of a proceeding pur-
Commission-approved tariff (rather than by con-
                                                       suant to this section, whichever is earlier, the Commis-
tract) and the sale violates the terms of the tar-     sion shall state the reasons why it has failed to do so
iff or applicable Commission rules in effect at        and shall state its best estimate as to when it reason-
the time of the sale, the entity shall be subject      ably expects to make such decision’’.
to the refund authority of the Commission under           Subsec. (e). Pub. L. 109–58, § 1286, added subsec. (e).
this section with respect to the violation.               1988—Subsec. (a). Pub. L. 100–473, § 2(1), inserted provi-
   (3) This section shall not apply to—                sions for a statement of reasons for listed changes,
     (A) any entity that sells in total (including     hearings, and specification of issues.
   affiliates of the entity) less than 8,000,000          Subsecs. (b) to (d). Pub. L. 100–473, § 2(2), added sub-
   megawatt hours of electricity per year; or          secs. (b) and (c) and redesignated former subsec. (b) as
     (B) an electric cooperative.                      (d).

  (4)(A) The Commission shall have refund au-                 Statutory Notes and Related Subsidiaries
thority under paragraph (2) with respect to a
voluntary short term sale of electric energy by                  EFFECTIVE DATE OF 1988 AMENDMENT
the Bonneville Power Administration only if the          Pub. L. 100–473, § 4, Oct. 6, 1988, 102 Stat. 2300, provided
sale is at an unjust and unreasonable rate.            that: ‘‘The amendments made by this Act [amending
  (B) The Commission may order a refund under          this section] are not applicable to complaints filed or
subparagraph (A) only for short-term sales made        motions initiated before the date of enactment of this
by the Bonneville Power Administration at              Act [Oct. 6, 1988] pursuant to section 206 of the Federal
rates that are higher than the highest just and        Power Act [this section]: Provided, however, That such
                                                       complaints may be withdrawn and refiled without prej-
reasonable rate charged by any other entity for        udice.’’
a short-term sale of electric energy in the same
geographic market for the same, or most nearly                   LIMITATION ON AUTHORITY PROVIDED
comparable, period as the sale by the Bonneville         Pub. L. 100–473, § 3, Oct. 6, 1988, 102 Stat. 2300, provided
Power Administration.                                  that: ‘‘Nothing in subsection (c) of section 206 of the
  (C) In the case of any Federal power mar-            Federal Power Act, as amended (16 U.S.C. 824e(c)) shall
keting agency or the Tennessee Valley Author-          be interpreted to confer upon the Federal Energy Regu-
ity, the Commission shall not assert or exercise       latory Commission any authority not granted to it
any regulatory authority or power under para-          elsewhere in such Act [16 U.S.C. 791a et seq.] to issue an
graph (2) other than the ordering of refunds to        order that (1) requires a decrease in system production
                                                       or transmission costs to be paid by one or more electric
achieve a just and reasonable rate.                    utility companies of a registered holding company; and
                                                       (2) is based upon a determination that the amount of
 1 See References in Text note below.                  such decrease should be paid through an increase in the




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costs to be paid by other electric utility companies of          vested with the same power and be subject to
such registered holding company. For purposes of this            the same duties and liabilities as in the case of
section, the terms ‘electric utility companies’ and ‘reg-        a member of the Commission when designated
istered holding company’ shall have the same meanings            by the Commission to hold any hearings. The
as provided in the Public Utility Holding Company Act
of 1935, as amended [15 U.S.C. 79 et seq.].’’
                                                                 action of such board shall have such force and
                                                                 effect and its proceedings shall be conducted in
                           STUDY                                 such manner as the Commission shall by regula-
  Pub. L. 100–473, § 5, Oct. 6, 1988, 102 Stat. 2301, directed   tions prescribe. The board shall be appointed by
that, no earlier than three years and no later than four         the Commission from persons nominated by the
years after Oct. 6, 1988, Federal Energy Regulatory              State commission of each State affected or by
Commission perform a study of effect of amendments               the Governor of such State if there is no State
to this section, analyzing (1) impact, if any, of such           commission. Each State affected shall be enti-
amendments on cost of capital paid by public utilities,          tled to the same number of representatives on
(2) any change in average time taken to resolve pro-             the board unless the nominating power of such
ceedings under this section, and (3) such other matters
                                                                 State waives such right. The Commission shall
as Commission may deem appropriate in public inter-
est, with study to be sent to Committee on Energy and            have discretion to reject the nominee from any
Natural Resources of Senate and Committee on Energy              State, but shall thereupon invite a new nomina-
and Commerce of House of Representatives.                        tion from that State. The members of a board
                                                                 shall receive such allowances for expenses as the
§ 824f. Ordering furnishing of adequate service                  Commission shall provide. The Commission
  Whenever the Commission, upon complaint of                     may, when in its discretion sufficient reason ex-
                                                                 ists therefor, revoke any reference to such a
a State commission, after notice to each State
                                                                 board.
commission and public utility affected and after
opportunity for hearing, shall find that any                     (b) Cooperation with State commissions
interstate service of any public utility is inad-                  The Commission may confer with any State
equate or insufficient, the Commission shall de-                 commission regarding the relationship between
termine the proper, adequate, or sufficient serv-                rate structures, costs, accounts, charges, prac-
ice to be furnished, and shall fix the same by its               tices, classifications, and regulations of public
order, rule, or regulation: Provided, That the                   utilities subject to the jurisdiction of such State
Commission shall have no authority to compel                     commission and of the Commission; and the
the enlargement of generating facilities for such                Commission is authorized, under such rules and
purposes, nor to compel the public utility to sell               regulations as it shall prescribe, to hold joint
or exchange energy when to do so would impair                    hearings with any State commission in connec-
its ability to render adequate service to its cus-               tion with any matter with respect to which the
tomers.                                                          Commission is authorized to act. The Commis-
                                                                 sion is authorized in the administration of this
(June 10, 1920, ch. 285, pt. II, § 207, as added Aug.            chapter to avail itself of such cooperation, serv-
26, 1935, ch. 687, title II, § 213, 49 Stat. 853.)               ices, records, and facilities as may be afforded
§ 824g. Ascertainment of cost of property and de-                by any State commission.
    preciation                                                   (c) Availability of information and reports to
                                                                     State commissions; Commission experts
(a) Investigation of property costs
                                                                   The Commission shall make available to the
  The Commission may investigate and ascer-                      several State commissions such information and
tain the actual legitimate cost of the property                  reports as may be of assistance in State regula-
of every public utility, the depreciation therein,               tion of public utilities. Whenever the Commis-
and, when found necessary for rate-making pur-                   sion can do so without prejudice to the efficient
poses, other facts which bear on the determina-                  and proper conduct of its affairs, it may upon re-
tion of such cost or depreciation, and the fair                  quest from a State make available to such State
value of such property.                                          as witnesses any of its trained rate, valuation,
(b) Request for inventory and cost statements                    or other experts, subject to reimbursement to
  Every public utility upon request shall file                   the Commission by such State of the compensa-
with the Commission an inventory of all or any                   tion and traveling expenses of such witnesses.
                                                                 All sums collected hereunder shall be credited to
part of its property and a statement of the origi-
                                                                 the appropriation from which the amounts were
nal cost thereof, and shall keep the Commission
                                                                 expended in carrying out the provisions of this
informed regarding the cost of all additions, bet-
                                                                 subsection.
terments, extensions, and new construction.
                                                                 (June 10, 1920, ch. 285, pt. II, § 209, as added Aug.
(June 10, 1920, ch. 285, pt. II, § 208, as added Aug.            26, 1935, ch. 687, title II, § 213, 49 Stat. 853.)
26, 1935, ch. 687, title II, § 213, 49 Stat. 853.)
                                                                 § 824i. Interconnection authority
§ 824h. References to State boards by Commis-
    sion                                                         (a) Powers of Commission; application by State
                                                                     regulatory authority
(a) Composition of boards; force and effect of
                                                                   (1) Upon application of any electric utility,
    proceedings
                                                                 Federal power marketing agency, geothermal
  The Commission may refer any matter arising                    power producer (including a producer which is
in the administration of this subchapter to a                    not an electric utility), qualifying cogenerator,
board to be composed of a member or members,                     or qualifying small power producer, the Com-
as determined by the Commission, from the                        mission may issue an order requiring—
State or each of the States affected or to be af-                    (A) the physical connection of any cogenera-
fected by such matter. Any such board shall be                     tion facility, any small power production fa-




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  with the firm transmission rights described in          (1) Advanced cybersecurity technology
  subsection (a).                                            The term ‘‘advanced cybersecurity tech-
(June 10, 1920, ch. 285, pt. II, § 218, as added Pub.     nology’’ means any technology, operational
L. 109–58, title XII, § 1235, Aug. 8, 2005, 119 Stat.     capability, or service, including computer
960.)                                                     hardware, software, or a related asset, that en-
                                                          hances the security posture of public utilities
§ 824s. Transmission infrastructure investment            through improvements in the ability to pro-
(a) Rulemaking requirement                                tect against, detect, respond to, or recover
  Not later than 1 year after August 8, 2005, the         from a cybersecurity threat (as defined in sec-
Commission shall establish, by rule, incentive-           tion 1501 of title 6).
based (including performance-based) rate treat-           (2) Advanced cybersecurity technology infor-
ments for the transmission of electric energy in               mation
interstate commerce by public utilities for the              The term ‘‘advanced cybersecurity tech-
purpose of benefitting consumers by ensuring re-          nology information’’ means information relat-
liability and reducing the cost of delivered              ing to advanced cybersecurity technology or
power by reducing transmission congestion.                proposed advanced cybersecurity technology
(b) Contents                                              that is generated by or provided to the Com-
  The rule shall—                                         mission or another Federal agency.
     (1) promote reliable and economically effi-        (b) Study
  cient transmission and generation of elec-
  tricity by promoting capital investment in the          Not later than 180 days after November 15,
  enlargement, improvement, maintenance, and            2021, the Commission, in consultation with the
  operation of all facilities for the transmission      Secretary of Energy, the North American Elec-
  of electric energy in interstate commerce, re-        tric Reliability Corporation, the Electricity
  gardless of the ownership of the facilities;          Subsector Coordinating Council, and the Na-
     (2) provide a return on equity that attracts       tional Association of Regulatory Utility Com-
  new investment in transmission facilities (in-        missioners, shall conduct a study to identify in-
  cluding related transmission technologies);           centive-based,     including     performance-based,
     (3) encourage deployment of transmission           rate treatments for the transmission and sale of
  technologies and other measures to increase           electric energy subject to the jurisdiction of the
  the capacity and efficiency of existing trans-        Commission that could be used to encourage—
  mission facilities and improve the operation of            (1) investment by public utilities in ad-
  the facilities; and                                     vanced cybersecurity technology; and
     (4) allow recovery of—                                  (2) participation by public utilities in
       (A) all prudently incurred costs necessary         cybersecurity threat information sharing pro-
     to comply with mandatory reliability stand-          grams.
     ards issued pursuant to section 824o of this       (c) Incentive-based rate treatment
     title; and
       (B) all prudently incurred costs related to        Not later than 1 year after the completion of
     transmission infrastructure development            the study under subsection (b), the Commission
     pursuant to section 824p of this title.            shall establish, by rule, incentive-based, includ-
(c) Incentives                                          ing performance-based, rate treatments for the
                                                        transmission of electric energy in interstate
  In the rule issued under this section, the Com-       commerce and the sale of electric energy at
mission shall, to the extent within its jurisdic-       wholesale in interstate commerce by public util-
tion, provide for incentives to each transmitting       ities for the purpose of benefitting consumers by
utility or electric utility that joins a Trans-         encouraging—
mission Organization. The Commission shall en-               (1) investments by public utilities in ad-
sure that any costs recoverable pursuant to this          vanced cybersecurity technology; and
subsection may be recovered by such utility                  (2) participation by public utilities in
through the transmission rates charged by such            cybersecurity threat information sharing pro-
utility or through the transmission rates                 grams.
charged by the Transmission Organization that
provides transmission service to such utility.          (d) Factors for consideration
(d) Just and reasonable rates                             In issuing a rule pursuant to this section, the
  All rates approved under the rules adopted            Commission may provide additional incentives
pursuant to this section, including any revisions       beyond those identified in subsection (c) in any
to the rules, are subject to the requirements of        case in which the Commission determines that
sections 824d and 824e of this title that all rates,    an investment in advanced cybersecurity tech-
charges, terms, and conditions be just and rea-         nology or information sharing program costs
sonable and not unduly discriminatory or pref-          will reduce cybersecurity risks to—
erential.                                                    (1) defense critical electric infrastructure (as
                                                          defined in section 824o–1(a) of this title) and
(June 10, 1920, ch. 285, pt. II, § 219, as added Pub.     other facilities subject to the jurisdiction of
L. 109–58, title XII, § 1241, Aug. 8, 2005, 119 Stat.     the Commission that are critical to public
961.)                                                     safety, national defense, or homeland security,
§ 824s–1. Incentives   for   cybersecurity   invest-      as determined by the Commission in consulta-
    ments                                                 tion with—
                                                               (A) the Secretary of Energy;
(a) Definitions                                                (B) the Secretary of Homeland Security;
  In this section:                                           and




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ices. The amounts collected under this section                  plication is based. Upon such application the
shall be deposited in the Treasury to the credit                Commission shall have power to grant or deny
of miscellaneous receipts. All printing for the                 rehearing or to abrogate or modify its order
Federal Power Commission making use of en-                      without further hearing. Unless the Commission
graving, lithography, and photolithography, to-                 acts upon the application for rehearing within
gether with the plates for the same, shall be                   thirty days after it is filed, such application
contracted for and performed under the direc-                   may be deemed to have been denied. No pro-
tion of the Commission, under such limitations                  ceeding to review any order of the Commission
and conditions as the Joint Committee on Print-                 shall be brought by any entity unless such enti-
ing may from time to time prescribe, and all                    ty shall have made application to the Commis-
other printing for the Commission shall be done                 sion for a rehearing thereon. Until the record in
by the Director of the Government Publishing                    a proceeding shall have been filed in a court of
Office under such limitations and conditions as                 appeals, as provided in subsection (b), the Com-
the Joint Committee on Printing may from time                   mission may at any time, upon reasonable no-
to time prescribe. The entire work may be done                  tice and in such manner as it shall deem proper,
at, or ordered through, the Government Pub-                     modify or set aside, in whole or in part, any
lishing Office whenever, in the judgment of the                 finding or order made or issued by it under the
Joint Committee on Printing, the same would                     provisions of this chapter.
be to the interest of the Government: Provided,                 (b) Judicial review
That when the exigencies of the public service
so require, the Joint Committee on Printing                       Any party to a proceeding under this chapter
may authorize the Commission to make imme-                      aggrieved by an order issued by the Commission
diate contracts for engraving, lithographing,                   in such proceeding may obtain a review of such
and photolithographing, without advertisement                   order in the United States court of appeals for
for proposals: Provided further, That nothing                   any circuit wherein the licensee or public utility
contained in this chapter or any other Act shall                to which the order relates is located or has its
prevent the Federal Power Commission from                       principal place of business, or in the United
placing orders with other departments or estab-                 States Court of Appeals for the District of Co-
lishments for engraving, lithographing, and                     lumbia, by filing in such court, within sixty
photolithographing, in accordance with the pro-                 days after the order of the Commission upon the
visions of sections 1535 and 1536 of title 31, pro-             application for rehearing, a written petition
viding for interdepartmental work.                              praying that the order of the Commission be
                                                                modified or set aside in whole or in part. A copy
(June 10, 1920, ch. 285, pt. III, § 312, as added Aug.          of such petition shall forthwith be transmitted
26, 1935, ch. 687, title II, § 213, 49 Stat. 859; amend-        by the clerk of the court to any member of the
ed Pub. L. 113–235, div. H, title I, § 1301(b), (d),            Commission and thereupon the Commission
Dec. 16, 2014, 128 Stat. 2537.)                                 shall file with the court the record upon which
                                                                the order complained of was entered, as provided
                      Editorial Notes                           in section 2112 of title 28. Upon the filing of such
                       CODIFICATION                             petition such court shall have jurisdiction,
                                                                which upon the filing of the record with it shall
  ‘‘Sections 1535 and 1536 of title 31’’ substituted in text
for ‘‘sections 601 and 602 of the Act of June 30, 1932 (47      be exclusive, to affirm, modify, or set aside such
Stat. 417 [31 U.S.C. 686, 686b])’’ on authority of Pub. L.      order in whole or in part. No objection to the
97–258, § 4(b), Sept. 13, 1982, 96 Stat. 1067, the first sec-   order of the Commission shall be considered by
tion of which enacted Title 31, Money and Finance.              the court unless such objection shall have been
                                                                urged before the Commission in the application
         Statutory Notes and Related Subsidiaries               for rehearing unless there is reasonable ground
                     CHANGE OF NAME                             for failure so to do. The finding of the Commis-
                                                                sion as to the facts, if supported by substantial
  ‘‘Director of the Government Publishing Office’’ sub-         evidence, shall be conclusive. If any party shall
stituted for ‘‘Public Printer’’ in text on authority of
section 1301(d) of Pub. L. 113–235, set out as a note
                                                                apply to the court for leave to adduce additional
under section 301 of Title 44, Public Printing and Docu-        evidence, and shall show to the satisfaction of
ments.                                                          the court that such additional evidence is mate-
  ‘‘Government Publishing Office’’ substituted for              rial and that there were reasonable grounds for
‘‘Government Printing Office’’ in text on authority of          failure to adduce such evidence in the pro-
section 1301(b) of Pub. L. 113–235, set out as a note pre-      ceedings before the Commission, the court may
ceding section 301 of Title 44, Public Printing and Docu-       order such additional evidence to be taken be-
ments.                                                          fore the Commission and to be adduced upon the
§ 825l. Review of orders                                        hearing in such manner and upon such terms
                                                                and conditions as to the court may seem proper.
(a) Application for rehearing; time periods; modi-              The Commission may modify its findings as to
    fication of order                                           the facts by reason of the additional evidence so
  Any person, electric utility, State, munici-                  taken, and it shall file with the court such
pality, or State commission aggrieved by an                     modified or new findings which, if supported by
order issued by the Commission in a proceeding                  substantial evidence, shall be conclusive, and its
under this chapter to which such person, electric               recommendation, if any, for the modification or
utility, State, municipality, or State commis-                  setting aside of the original order. The judgment
sion is a party may apply for a rehearing within                and decree of the court, affirming, modifying, or
thirty days after the issuance of such order. The               setting aside, in whole or in part, any such order
application for rehearing shall set forth specifi-              of the Commission, shall be final, subject to re-
cally the ground or grounds upon which such ap-                 view by the Supreme Court of the United States




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upon certiorari or certification as provided in                concerning such acts or practices to the Attor-
section 1254 of title 28.                                      ney General, who, in his discretion, may insti-
(c) Stay of Commission’s order                                 tute the necessary criminal proceedings under
                                                               this chapter.
  The filing of an application for rehearing
                                                               (b) Writs of mandamus
under subsection (a) shall not, unless specifi-
cally ordered by the Commission, operate as a                    Upon application of the Commission the dis-
stay of the Commission’s order. The commence-                  trict courts of the United States and the United
ment of proceedings under subsection (b) of this               States courts of any Territory or other place
section shall not, unless specifically ordered by              subject to the jurisdiction of the United States
the court, operate as a stay of the Commission’s               shall have jurisdiction to issue writs of man-
order.                                                         damus commanding any person to comply with
                                                               the provisions of this chapter or any rule, regu-
(June 10, 1920, ch. 285, pt. III, § 313, as added Aug.         lation, or order of the Commission thereunder.
26, 1935, ch. 687, title II, § 213, 49 Stat. 860; amend-
                                                               (c) Employment of attorneys
ed June 25, 1948, ch. 646, § 32(a), 62 Stat. 991; May
24, 1949, ch. 139, § 127, 63 Stat. 107; Pub. L. 85–791,          The Commission may employ such attorneys
§ 16, Aug. 28, 1958, 72 Stat. 947; Pub. L. 109–58,             as it finds necessary for proper legal aid and
title XII, § 1284(c), Aug. 8, 2005, 119 Stat. 980.)            service of the Commission or its members in the
                                                               conduct of their work, or for proper representa-
                     Editorial Notes                           tion of the public interests in investigations
                                                               made by it or cases or proceedings pending be-
                       CODIFICATION                            fore it, whether at the Commission’s own in-
  In subsec. (b), ‘‘section 1254 of title 28’’ substituted     stance or upon complaint, or to appear for or
for ‘‘sections 239 and 240 of the Judicial Code, as amend-     represent the Commission in any case in court;
ed (U.S.C., title 28, secs. 346 and 347)’’ on authority of     and the expenses of such employment shall be
act June 25, 1948, ch. 646, 62 Stat. 869, the first section    paid out of the appropriation for the Commis-
of which enacted Title 28, Judiciary and Judicial Proce-
                                                               sion.
dure.
                                                               (d) Prohibitions on violators
                      AMENDMENTS
                                                                 In any proceedings under subsection (a), the
   2005—Subsec. (a). Pub. L. 109–58 inserted ‘‘electric        court may prohibit, conditionally or uncondi-
utility,’’ after ‘‘Any person,’’ and ‘‘to which such per-      tionally, and permanently or for such period of
son,’’ and substituted ‘‘brought by any entity unless          time as the court determines, any individual
such entity’’ for ‘‘brought by any person unless such
                                                               who is engaged or has engaged in practices con-
person’’.
   1958—Subsec. (a). Pub. L. 85–791, § 16(a), inserted sen-    stituting a violation of section 824u of this title
tence to provide that Commission may modify or set             (and related rules and regulations) from—
aside findings or orders until record has been filed in            (1) acting as an officer or director of an elec-
court of appeals.                                                tric utility; or
   Subsec. (b). Pub. L. 85–791, § 16(b), in second sentence,       (2) engaging in the business of purchasing or
substituted ‘‘transmitted by the clerk of the court to’’         selling—
for ‘‘served upon’’, substituted ‘‘file with the court’’ for         (A) electric energy; or
‘‘certify and file with the court a transcript of’’, and in-         (B) transmission services subject to the ju-
serted ‘‘as provided in section 2112 of title 28’’, and in         risdiction of the Commission.
third sentence, substituted ‘‘jurisdiction, which upon
the filing of the record with it shall be exclusive’’ for      (June 10, 1920, ch. 285, pt. III, § 314, as added Aug.
‘‘exclusive jurisdiction’’.                                    26, 1935, ch. 687, title II, § 213, 49 Stat. 861; amend-
                                                               ed June 25, 1936, ch. 804, 49 Stat. 1921; June 25,
       Statutory Notes and Related Subsidiaries                1948, ch. 646, § 32(b), 62 Stat. 991; May 24, 1949, ch.
                                                               139, § 127, 63 Stat. 107; Pub. L. 109–58, title XII,
                     CHANGE OF NAME
                                                               § 1288, Aug. 8, 2005, 119 Stat. 982.)
  Act June 25, 1948, eff. Sept. 1, 1948, as amended by act
May 24, 1949, substituted ‘‘court of appeals’’ for ‘‘circuit                        Editorial Notes
court of appeals’’.
                                                                                     CODIFICATION
§ 825m. Enforcement provisions                                   As originally enacted subsecs. (a) and (b) contained
                                                               references to the Supreme Court of the District of Co-
(a) Enjoining and restraining violations                       lumbia. Act June 25, 1936, substituted ‘‘the district
  Whenever it shall appear to the Commission                   court of the United States for the District of Colum-
that any person is engaged or about to engage in               bia’’ for ‘‘the Supreme Court of the District of Colum-
any acts or practices which constitute or will                 bia’’, and act June 25, 1948, as amended by act May 24,
                                                               1949, substituted ‘‘United States District Court for the
constitute a violation of the provisions of this
                                                               District of Columbia’’ for ‘‘district court of the United
chapter, or of any rule, regulation, or order                  States for the District of Columbia’’. However, the
thereunder, it may in its discretion bring an ac-              words ‘‘United States District Court for the District of
tion in the proper District Court of the United                Columbia’’ have been deleted entirely as superfluous in
States or the United States courts of any Terri-               view of section 132(a) of Title 28, Judiciary and Judicial
tory or other place subject to the jurisdiction of             Procedure, which states that ‘‘There shall be in each
the United States, to enjoin such acts or prac-                judicial district a district court which shall be a court
tices and to enforce compliance with this chap-                of record known as the United States District Court for
                                                               the district’’, and section 88 of Title 28 which states
ter or any rule, regulation, or order thereunder,
                                                               that ‘‘the District of Columbia constitutes one judicial
and upon a proper showing a permanent or tem-                  district’’.
porary injunction or decree or restraining order
shall be granted without bond. The Commission                                        AMENDMENTS
may transmit such evidence as may be available                  2005—Subsec. (d). Pub. L. 109–58 added subsec. (d).




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to regulation as such under other provisions of                Aug. 16, 1968. 33 F.R. 11741, set out as a note under sec-
this subchapter. The State within which any                    tion 301 of Title 3, The President.
such facilities are located may regulate any
such transaction insofar as such State regula-                 PERFORMANCE OF FUNCTIONS RESPECTING ELECTRIC
tion does not conflict with the exercise of the                 POWER AND NATURAL GAS FACILITIES LOCATED ON
                                                                UNITED STATES BORDERS
Commission’s powers under or relating to sub-
section (e).                                                     For provisions relating to performance of functions
                                                               by Secretary of Energy respecting electric power and
(g) Continuance of service                                     natural gas facilities located on United States borders,
                                                               see Ex. Ord. No. 10485, Sept. 8, 1953, 18 F.R. 5397, as
  In order to insure continuity of service to cus-             amended by Ex. Ord. No. 12038, Feb. 3, 1978, 43 F.R. 4957,
tomers of public utilities, the Commission shall               set out as a note under section 717b of Title 15, Com-
require, by rule, each public utility to—                      merce and Trade.
    (1) report promptly to the Commission and
  any appropriate State regulatory authorities                 § 824a–1. Pooling
  any anticipated shortage of electric energy or
  capacity which would affect such utility’s ca-               (a) State laws
  pability of serving its wholesale customers,
                                                                 The Commission may, on its own motion, and
    (2) submit to the Commission, and to any ap-
                                                               shall, on application of any person or govern-
  propriate State regulatory authority, and pe-
                                                               mental entity, after public notice and notice to
  riodically revise, contingency plans respect-
                                                               the Governor of the affected State and after af-
  ing—
                                                               fording an opportunity for public hearing, ex-
      (A) shortages of electric energy or capac-
                                                               empt electric utilities, in whole or in part, from
    ity, and
                                                               any provision of State law, or from any State
      (B) circumstances which may result in
                                                               rule or regulation, which prohibits or prevents
    such shortages, and
                                                               the voluntary coordination of electric utilities,
    (3) accommodate any such shortages or cir-                 including any agreement for central dispatch, if
  cumstances in a manner which shall—                          the Commission determines that such voluntary
      (A) give due consideration to the public                 coordination is designed to obtain economical
    health, safety, and welfare, and                           utilization of facilities and resources in any
      (B) provide that all persons served directly             area. No such exemption may be granted if the
    or indirectly by such public utility will be               Commission finds that such provision of State
    treated, without undue prejudice or dis-                   law, or rule or regulation—
    advantage.                                                     (1) is required by any authority of Federal
(June 10, 1920, ch. 285, pt. II, § 202, as added Aug.            law, or
26, 1935, ch. 687, title II, § 213, 49 Stat. 848; amend-           (2) is designed to protect public health, safe-
ed Aug. 7, 1953, ch. 343, 67 Stat. 461; Pub. L.                  ty, or welfare, or the environment or conserve
95–617, title II, § 206(a), Nov. 9, 1978, 92 Stat. 3141;         energy or is designed to mitigate the effects of
Pub. L. 114–94, div. F, § 61002, Dec. 4, 2015, 129               emergencies resulting from fuel shortages.
Stat. 1772.)                                                   (b) Pooling study
                                                                 (1) The Commission, in consultation with the
                     Editorial Notes                           reliability councils established under section
                                                               202(a) of the Federal Power Act [16 U.S.C. 824a],
                      AMENDMENTS                               the Secretary, and the electric utility industry
  2015—Subsec. (c). Pub. L. 114–94, § 61002(a), designated     shall study the opportunities for—
existing provisions as par. (1) and added pars. (2) to (5).        (A) conservation of energy,
  Subsec. (d). Pub. L. 114–94, § 61002(b), inserted ‘‘or mu-       (B) optimization in the efficiency of use of
nicipality’’ before ‘‘engaged in the transmission or sale        facilities and resources, and
of electric energy’’.                                              (C) increased reliability,
  1978—Subsec. (g). Pub. L. 95–617 added subsec. (g).
  1953—Subsec. (f). Act Aug. 7, 1953, added subsec. (f).       through pooling arrangements. Not later than 18
                                                               months after November 9, 1978, the Commission
       Statutory Notes and Related Subsidiaries
                                                               shall submit a report containing the results of
                                                               such study to the President and the Congress.
         EFFECTIVE DATE OF 1978 AMENDMENT                        (2) The Commission may recommend to elec-
                                                               tric utilities that such utilities should volun-
  Pub. L. 95–617, title II, § 206(b), Nov. 9, 1978, 92 Stat.   tarily enter into negotiations where the oppor-
3142, provided that: ‘‘The amendment made by sub-
                                                               tunities referred to in paragraph (1) exist. The
section (a) [adding subsec. (g) of this section] shall not
affect any proceeding of the Commission [Federal En-           Commission shall report annually to the Presi-
ergy Regulatory Commission] pending on the date of             dent and the Congress regarding any such rec-
the enactment of this Act [Nov. 9, 1978] or any case           ommendations and subsequent actions taken by
pending on such date respecting a proceeding of the            electric utilities, by the Commission, and by the
Commission.’’                                                  Secretary under this Act, the Federal Power Act
                                                               [16 U.S.C. 791a et seq.], and any other provision
                  Executive Documents                          of law. Such annual reports shall be included in
                                                               the Commission’s annual report required under
                DELEGATION OF FUNCTIONS                        the Department of Energy Organization Act [42
                                                               U.S.C. 7101 et seq.].
  Functions of President respecting certain facilities
constructed and maintained on United States borders            (Pub. L. 95–617, title II, § 205, Nov. 9, 1978, 92 Stat.
delegated to Secretary of State, see Ex. Ord. No. 11423,       3140.)




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                      Editorial Notes                              number and severity of any outages among the
                   REFERENCES IN TEXT                              various types of systems;
                                                                     (D) alternatives to adding new generation fa-
  This Act, referred to in subsec. (b)(2), means Pub. L.           cilities to achieve such desired levels of reli-
95–617, Nov. 9, 1978, 92 Stat. 3117, known as the ‘‘Public
Utility Regulatory Policies Act of 1978’’. For complete
                                                                   ability (including conservation);
classification of this Act to the Code, see Short Title              (E) the cost-effectiveness of adding a number
note set out under section 2601 of this title and Tables.          of small, decentralized conventional and non-
  The Federal Power Act, referred to in subsec. (b)(2),            conventional generating units rather than a
is act June 10, 1920, ch. 285, 41 Stat. 1063, as amended,          small number of large generating units with a
which is classified generally to this chapter. For com-            similar total megawatt capacity for achieving
plete classification of this Act to the Code, see section          the desired level of reliability; and
791a of this title and Tables.                                       (F) any standards for electric utility reli-
  The Department of Energy Organization Act, referred
to in subsec. (b)(2), is Pub. L. 95–91, Aug. 4, 1977, 91 Stat.
                                                                   ability used by, or suggested for use by, the
565, as amended, which is classified principally to chap-          electric utility industry in terms of cost-effec-
ter 84 (§ 7101 et seq.) of Title 42, The Public Health and         tiveness in achieving the desired level of reli-
Welfare. For complete classification of this Act to the            ability, including equipment standards, stand-
Code, see Short Title note set out under section 7101 of           ards for operating procedures and training of
Title 42 and Tables.                                               personnel, and standards relating the number
                       CODIFICATION                                and severity of outages to periods of time.
  Section was enacted as part of the Public Utility              (b) Examination of reliability issues by reli-
Regulatory Policies Act of 1978, and not as part of the              ability councils
Federal Power Act which generally comprises this
chapter.                                                           The Secretary, in consultation with the Com-
                                                                 mission, may, from time to time, request the re-
       Statutory Notes and Related Subsidiaries                  liability councils established under section
                        DEFINITIONS
                                                                 202(a) of the Federal Power Act [16 U.S.C. 824a(a)
                                                                 of this title] or other appropriate persons (in-
  For definitions of terms used in this section, see sec-        cluding Federal agencies) to examine and report
tion 2602 of this title.                                         to him concerning any electric utility reli-
§ 824a–2. Reliability                                            ability issue. The Secretary shall report to the
                                                                 Congress (in its annual report or in the report
(a) Study                                                        required under subsection (a) if appropriate) the
  (1) The Secretary, in consultation with the                    results of any examination under the preceding
Commission, shall conduct a study with respect                   sentence.
to—
    (A) the level of reliability appropriate to                  (c) Department of Energy recommendations
  adequately serve the needs of electric con-                      The Secretary, in consultation with the Com-
  sumers, taking into account cost effectiveness                 mission, and after opportunity for public com-
  and the need for energy conservation,                          ment, may recommend industry standards for
    (B) the various methods which could be used                  reliability to the electric utility industry, in-
  in order to achieve such level of reliability and              cluding standards with respect to equipment,
  the cost effectiveness of such methods, and                    operating procedures and training of personnel,
    (C) the various procedures that might be                     and standards relating to the level or levels of
  used in case of an emergency outage to mini-                   reliability appropriate to adequately and reli-
  mize the public disruption and economic loss                   ably serve the needs of electric consumers. The
  that might be caused by such an outage and                     Secretary shall include in his annual report—
  the cost effectiveness of such procedures.                         (1) any recommendations made under this
Such study shall be completed and submitted to                     subsection or any recommendations respecting
the President and the Congress not later than 18                   electric utility reliability problems under any
months after November 9, 1978. Before such sub-                    other provision of law, and
mittal the Secretary shall provide an oppor-                         (2) a description of actions taken by electric
tunity for public comment on the results of such                   utilities with respect to such recommenda-
study.                                                             tions.
  (2) The study under paragraph (1) shall include                (Pub. L. 95–617, title II, § 209, Nov. 9, 1978, 92 Stat.
consideration of the following:                                  3143.)
    (A) the cost effectiveness of investments in
  each of the components involved in providing
                                                                                     Editorial Notes
  adequate and reliable electric service, includ-
  ing generation, transmission, and distribution                                      CODIFICATION
  facilities, and devices available to the electric
  consumer;                                                        Section was enacted as part of the Public Utility
    (B) the environmental and other effects of                   Regulatory Policies Act of 1978, and not as part of the
                                                                 Federal Power Act which generally comprises this
  the investments considered under subpara-                      chapter.
  graph (A);
    (C) various types of electric utility systems
  in terms of generation, transmission, distribu-                      Statutory Notes and Related Subsidiaries
  tion and customer mix, the extent to which
  differences in reliability levels may be desir-                                      DEFINITIONS
  able, and the cost-effectiveness of the various                  For definitions of terms used in this section, see sec-
  methods which could be used to decrease the                    tion 2602 of this title.




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                                                                    § 35.35                                                             18 CFR Ch. I (4–1–22 Edition)

                                                                      (i) The Regional Transmission Orga-                     Subpart G—Transmission            Infra-
                                                                    nization planning and expansion proc-                        structure Investment           Provi-
                                                                    ess must encourage market-driven op-                         sions
                                                                    erating and investment actions for pre-
                                                                    venting and relieving congestion.                         § 35.35 Transmission infrastructure in-
                                                                      (ii) The Regional Transmission Orga-                         vestment.
                                                                    nization’s planning and expansion proc-                     (a) Purpose. This section establishes
                                                                    ess must accommodate efforts by state                     rules for incentive-based (including
                                                                    regulatory commissions to create                          performance-based) rate treatments for
                                                                    multi-state agreements to review and                      transmission of electric energy in
                                                                    approve new transmission facilities.                      interstate commerce by public utilities
                                                                    The Regional Transmission Organiza-                       for the purpose of benefiting consumers
                                                                    tion’s planning and expansion process                     by ensuring reliability and reducing
                                                                    must be coordinated with programs of                      the cost of delivered power by reducing
                                                                    existing Regional Transmission Groups                     transmission congestion.
                                                                    (See § 2.21 of this chapter) where appro-                   (b) Definitions. (1) Transco means a
                                                                    priate.                                                   stand-alone     transmission    company
                                                                      (iii) If the Regional Transmission Or-                  that has been approved by the Commis-
                                                                    ganization is unable to satisfy this re-                  sion and that sells transmission serv-
                                                                    quirement when it commences oper-                         ices at wholesale and/or on an
                                                                    ation, it must file with the Commission                   unbundled retail basis, regardless of
                                                                    a plan with specified milestones that                     whether it is affiliated with another
                                                                    will ensure that it meets this require-                   public utility.
                                                                    ment no later than three years after                        (2) Transmission Organization means a
                                                                    initial operation.                                        Regional Transmission Organization,
                                                                      (8) Interregional coordination. The Re-                 Independent System Operator, inde-
                                                                    gional Transmission Organization must                     pendent transmission provider, or
                                                                    ensure the integration of reliability                     other transmission organization finally
                                                                    practices within an interconnection                       approved by the Commission for the
                                                                    and market interface practices among                      operation of transmission facilities.
                                                                    regions.                                                    (c) General rule. All rates approved
                                                                      (l) Open architecture. (1) Any proposal                 under the rules of this section, includ-
                                                                    to participate in a Regional Trans-                       ing any revisions to the rules, are sub-
                                                                    mission Organization must not contain                     ject to the filing requirements of sec-
                                                                    any provision that would limit the ca-                    tions 205 and 206 of the Federal Power
                                                                    pability of the Regional Transmission                     Act and to the substantive require-
                                                                    Organization to evolve in ways that                       ments of sections 205 and 206 of the
                                                                    would improve its efficiency, con-                        Federal Power Act that all rates,
                                                                    sistent with the requirements in para-                    charges, terms and conditions be just
                                                                    graphs (j) and (k) of this section.                       and reasonable and not unduly dis-
                                                                                                                              criminatory or preferential.
                                                                      (2) Nothing in this regulation pre-
                                                                    cludes an approved Regional Trans-                          (d) Incentive-based rate treatments for
                                                                    mission Organization from seeking to                      transmission infrastructure investment.
                                                                    evolve with respect to its organiza-                      The Commission will authorize any in-
                                                                                                                              centive-based rate treatment, as dis-
                                                                    tional design, market design, geo-
                                                                                                                              cussed in this paragraph (d), for trans-
                                                                    graphic scope, ownership arrange-
                                                                                                                              mission    infrastructure    investment,
                                                                    ments, or methods of operational con-
                                                                                                                              provided that the proposed incentive-
                                                                    trol, or in other appropriate ways if the
                                                                                                                              based rate treatment is just and rea-
                                                                    change is consistent with the require-
                                                                                                                              sonable and not unduly discriminatory
                                                                    ments of this section. Any future filing                  or preferential. A public utility’s re-
                                                                    seeking approval of such changes must                     quest for one or more incentive-based
                                                                    demonstrate that the proposed changes                     rate treatments, to be made in a filing
                                                                    will meet the requirements of para-                       pursuant to section 205 of the Federal
                                                                    graphs (j), (k) and (l) of this section.                  Power Act, or in a petition for a declar-
                                                                                                                              atory order that precedes a filing pur-
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                                                                    [Order 2000–A, 65 FR 12110, Mar. 8, 2000, as
                                                                    amended by Order 679, 71 FR 43338, July 31,               suant to section 205, must include a de-
                                                                    2006]                                                     tailed explanation of how the proposed

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                                                                    Federal Energy Regulatory Commission                                                        § 35.35

                                                                    rate treatment complies with the re-                      Transco to remove the disincentive as-
                                                                    quirements of section 219 of the Fed-                     sociated with the impact of accelerated
                                                                    eral Power Act and a demonstration                        depreciation on federal capital gains
                                                                    that the proposed rate treatment is                       tax liabilities.
                                                                    just, reasonable, and not unduly dis-                       (e) Incentives for joining a Trans-
                                                                    criminatory or preferential. The appli-                   mission Organization. The Commission
                                                                    cant must demonstrate that the facili-                    will authorize an incentive-based rate
                                                                    ties for which it seeks incentives either                 treatment, as discussed in this para-
                                                                    ensure reliability or reduce the cost of                  graph (e), for public utilities that join
                                                                    delivered power by reducing trans-                        a Transmission Organization, if the ap-
                                                                    mission congestion consistent with the                    plicant demonstrates that the proposed
                                                                    requirements of section 219, that the                     incentive-based rate treatment is just
                                                                    total package of incentives is tailored                   and reasonable and not unduly dis-
                                                                    to address the demonstrable risks or                      criminatory or preferential. Applicants
                                                                    challenges faced by the applicant in                      for the incentive-based rate treatment
                                                                    undertaking the project, and that re-                     must make a filing with the Commis-
                                                                    sulting rates are just and reasonable.                    sion under section 205 of the Federal
                                                                    For purposes of this paragraph (d), in-                   Power Act. For purposes of this para-
                                                                    centive-based rate treatment means                        graph (e), an incentive-based rate
                                                                    any of the following:                                     treatment means a return on equity
                                                                       (1) For purposes of this paragraph (d),                that is higher than the return on eq-
                                                                    incentive-based rate treatment means                      uity the Commission might otherwise
                                                                    any of the following:                                     allow if the public utility did not join
                                                                       (i) A rate of return on equity suffi-                  a Transmission Organization. The
                                                                    cient to attract new investment in                        Commission will also permit transmit-
                                                                    transmission facilities;                                  ting utilities or electric utilities that
                                                                       (ii) 100 percent of prudently incurred                 join a Transmission Organization the
                                                                    Construction Work in Progress (CWIP)                      ability to recover prudently incurred
                                                                    in rate base;                                             costs associated with joining the
                                                                       (iii) Recovery of prudently incurred                   Transmission      Organization,     either
                                                                    pre-commercial operations costs;                          through transmission rates charged by
                                                                       (iv) Hypothetical capital structure;                   transmitting utilities or electric utili-
                                                                       (v) Accelerated depreciation used for                  ties or through transmission rates
                                                                    rate recovery;                                            charged by the Transmission Organiza-
                                                                       (vi) Recovery of 100 percent of pru-                   tion that provides services to such util-
                                                                    dently incurred costs of transmission                     ities.
                                                                    facilities that are cancelled or aban-                      (f) Approval of prudently-incurred
                                                                    doned due to factors beyond the con-                      costs. The Commission will approve re-
                                                                    trol of the public utility;                               covery of prudently-incurred costs nec-
                                                                       (vii) Deferred cost recovery; and                      essary to comply with the mandatory
                                                                       (viii) Any other incentives approved                   reliability standards pursuant to sec-
                                                                    by the Commission, pursuant to the re-                    tion 215 of the Federal Power Act, pro-
                                                                    quirements of this paragraph, that are                    vided that the proposed rates are just
                                                                    determined to be just and reasonable                      and reasonable and not unduly dis-
                                                                    and not unduly discriminatory or pref-                    criminatory or preferential.
                                                                    erential.                                                   (g) Approval of prudently incurred costs
                                                                       (2) In addition to the incentives in                   related to transmission infrastructure de-
                                                                    § 35.35(d)(1), the Commission will au-                    velopment. The Commission will ap-
                                                                    thorize the following incentive-based                     prove recovery of prudently-incurred
                                                                    rate treatments for Transcos, provided                    costs related to transmission infra-
                                                                    that the proposed incentive-based rate                    structure development pursuant to sec-
                                                                    treatment is just and reasonable and                      tion 216 of the Federal Power Act, pro-
                                                                    not unduly discriminatory or pref-                        vided that the proposed rates are just
                                                                    erential:                                                 and reasonable and not unduly dis-
                                                                       (i) A return on equity that both en-                   criminatory or preferential.
                                                                    courages Transco formation and is suf-                      (h) FERC–730, Report of transmission
                                                                    ficient to attract investment; and                        investment activity. Public utilities that
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                                                                       (ii) An adjustment to the book value                   have been granted incentive rate treat-
                                                                    of transmission assets being sold to a                    ment for specific transmission projects

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                                                                    § 35.36                                                              18 CFR Ch. I (4–1–22 Edition)

                                                                    must file FERC–730 on an annual basis                     tional interest electric transmission
                                                                    beginning with the calendar year in-                      corridor designated by the Secretary,
                                                                    centive rate treatment is granted by                      such facilities shall be deemed to ei-
                                                                    the Commission. Such filings are due                      ther ensure reliability or reduce the
                                                                    by April 18 of the following calendar                     cost of delivered power by reducing
                                                                    year and are due April 18 each year                       congestion for purposes of section
                                                                    thereafter. The following information                     219(a).
                                                                    must be filed:
                                                                                                                              [Order 679, 71 FR 43338, July 31, 2006, as
                                                                       (1) In dollar terms, actual trans-                     amended by Order 679–A, 72 FR 1172, Jan. 10,
                                                                    mission investment for the most recent                    2007, Order 691, 72 FR 5174, Feb. 5, 2007]
                                                                    calendar year, and projected, incre-
                                                                    mental investments for the next five
                                                                    calendar years;
                                                                                                                              Subpart H—Wholesale Sales of
                                                                       (2) For all current and projected in-                     Electric Energy, Capacity and
                                                                    vestments over the next five calendar                        Ancillary Services at Market-
                                                                    years, a project by project listing that                     Based Rates
                                                                    specifies for each project the most up-
                                                                    to-date, expected completion date, per-                     SOURCE: Order 697, 72 FR 40038, July 20,
                                                                    centage completion as of the date of                      2007, unless otherwise noted.
                                                                    filing, and reasons for delays. Exclude
                                                                    from this listing projects with pro-                      § 35.36 Generally.
                                                                    jected costs less than $20 million; and                      (a) For purposes of this subpart:
                                                                       (3) For good cause shown, the Com-                        (1) Seller means any person that has
                                                                    mission may extend the time within                        authorization to or seeks authorization
                                                                    which any FERC–730 filing is to be filed                  to engage in sales for resale of electric
                                                                    or waive the requirements applicable                      energy, capacity or ancillary services
                                                                    to any such filing.                                       at market-based rates under section 205
                                                                       (i) Rebuttable presumption. (1) The                    of the Federal Power Act.
                                                                    Commission will apply a rebuttable                           (2) Category 1 Seller means a Seller
                                                                    presumption that an applicant has                         that:
                                                                    demonstrated that its project is needed                      (i) Is either a wholesale power mar-
                                                                    to ensure reliability or reduces the cost                 keter that controls or is affiliated with
                                                                    of delivered power by reducing conges-                    500 MW or less of generation in aggre-
                                                                    tion for:                                                 gate per region or a wholesale power
                                                                       (i) A transmission project that re-                    producer that owns, controls or is af-
                                                                    sults from a fair and open regional                       filiated with 500 MW or less of genera-
                                                                    planning process that considers and                       tion in aggregate in the same region as
                                                                    evaluates projects for reliability and/or                 its generation assets;
                                                                    congestion and is found to be accept-                        (ii) Does not own, operate or control
                                                                    able to the Commission; or                                transmission facilities other than lim-
                                                                       (ii) A project that has received con-                  ited equipment necessary to connect
                                                                    struction approval from an appropriate                    individual generating facilities to the
                                                                    state commission or state siting au-                      transmission grid (or has been granted
                                                                    thority.                                                  waiver of the requirements of Order
                                                                       (2) To the extent these approval proc-                 No. 888, FERC Stats. & Regs. ¶ 31,036);
                                                                    esses do not require that a project en-                      (iii) Is not affiliated with anyone
                                                                    sures reliability or reduce the cost of                   that owns, operates or controls trans-
                                                                    delivered power by reducing conges-                       mission facilities in the same region as
                                                                    tion, the applicant bears the burden of                   the Seller’s generation assets;
                                                                    demonstrating that its project satisfies                     (iv) Is not affiliated with a franchised
                                                                    these criteria.                                           public utility in the same region as the
                                                                       (j) Commission authorization to site                   Seller’s generation assets; and
                                                                    electric transmission facilities in interstate               (v) Does not raise other vertical mar-
                                                                    commerce. If the Commission pursuant                      ket power issues.
                                                                    to its authority under section 216 of the                    (3) Category 2 Sellers means any Sell-
                                                                    Federal Power Act and its regulations                     ers not in Category 1.
                                                                    thereunder has issued one or more per-                       (4) Inputs to electric power production
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                                                                    mits for the construction or modifica-                    means intrastate natural gas transpor-
                                                                    tion of transmission facilities in a na-                  tation, intrastate natural gas storage

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                                                                    Federal Energy Regulatory Commission                                                       § 385.602

                                                                      (2) If any excluded evidence is in the                  the hearing session, the presiding offi-
                                                                    form of an exhibit or is a public docu-                   cer may, with due regard for the con-
                                                                    ment, a copy of such exhibit will con-                    venience of the participants, direct ad-
                                                                    stitute the offer of proof or the public                  vance distribution of the exhibits by a
                                                                    document will be specified for identi-                    prescribed date. The presiding officer
                                                                    fication.                                                 may also direct the preparation and
                                                                                                                              distribution of any briefs and other
                                                                           Subpart F—Conferences,                             documents which the presiding officer
                                                                         Settlements, and Stipulations                        determines will substantially expedite
                                                                                                                              the proceeding.
                                                                    § 385.601 Conferences (Rule 601).                         [Order 225, 47 FR 19022, May 3, 1982, as
                                                                       (a) Convening. The Commission or                       amended by Order 578, 60 FR 19505, Apr. 19,
                                                                    other decisional authority, upon mo-                      1995]
                                                                    tion or otherwise, may convene a con-
                                                                    ference of the participants in a pro-                     § 385.602 Submission of settlement of-
                                                                    ceeding at any time for any purpose re-                         fers (Rule 602).
                                                                    lated to the conduct or disposition of                       (a) Applicability. This section applies
                                                                    the proceeding, including submission                      to written offers of settlement filed in
                                                                    and consideration of offers of settle-                    any proceeding pending before the
                                                                    ment or the use of alternative dispute                    Commission or set for hearing under
                                                                    resolution procedures.                                    subpart E. For purposes of this section,
                                                                       (b) General requirements. (1) The par-                 the term ‘‘offer of settlement’’ includes
                                                                    ticipants in a proceeding must be given                   any written proposal to modify an offer
                                                                    due notice of the time and place of a                     of settlement.
                                                                    conference under paragraph (a) of this                       (b) Submission of offer. (1) Any partici-
                                                                    section and of the matters to be ad-                      pant in a proceeding may submit an
                                                                    dressed at the conference. Participants                   offer of settlement at any time.
                                                                    attending the conference must be pre-                        (2) An offer of settlement must be
                                                                    pared to discuss the matters to be ad-                    filed with the Secretary. The Secretary
                                                                    dressed at the conference, unless there                   will transmit the offer to:
                                                                    is good cause for a failure to be pre-                       (i) The presiding officer, if the offer
                                                                    pared.                                                    is filed after a hearing has been ordered
                                                                       (2) Any person appearing at the con-                   under subpart E of this part and before
                                                                    ference in a representative capacity                      the presiding officer certifies the
                                                                    must be authorized to act on behalf of                    record to the Commission; or
                                                                    that person’s principal with respect to                      (ii) The Commission.
                                                                    matters to be addressed at the con-                          (3) If an offer of settlement pertains
                                                                    ference.                                                  to multiple proceedings that are in
                                                                       (3) If any party fails to attend the                   part pending before the Commission
                                                                    conference such failure will constitute                   and in part set for hearing, any partici-
                                                                    a waiver of all objections to any order                   pant may by motion request the Com-
                                                                    or ruling arising out of, or any agree-                   mission to consolidate the multiple
                                                                    ment reached at, the conference.                          proceedings and to provide any other
                                                                       (c) Powers of decisional authority at                  appropriate procedural relief for pur-
                                                                    conference. (1) The decisional authority,                 poses of disposition of the settlement.
                                                                    before which the conference is held or                       (c) Contents of offer. (1) An offer of
                                                                    to which the conference reports, may                      settlement must include:
                                                                    dispose, during a conference, of any                         (i) The settlement offer;
                                                                    procedural matter on which the                               (ii) A separate explanatory state-
                                                                    decisional authority is authorized to                     ment;
                                                                    rule and which may appropriately and                         (iii) Copies of, or references to, any
                                                                    usefully be disposed of at that time.                     document, testimony, or exhibit, in-
                                                                       (2) If, in a proceeding set for hearing                cluding record citations if there is a
                                                                    under subpart E, the presiding officer                    record, and any other matters that the
                                                                    determines that the proceeding would                      offerer considers relevant to the offer
                                                                    be substantially expedited by distribu-                   of settlement; and
                                                                    tion of proposed exhibits, including                         (2) If an offer of settlement pertains
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                                                                    written prepared testimony and other                      to a tariff or rate filing, the offer must
                                                                    documents, reasonably in advance of                       include any proposed change in a form

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                                                                    § 385.602                                                            18 CFR Ch. I (4–1–22 Edition)

                                                                    suitable for inclusion in the filed rate                  offer of settlement, or items not in-
                                                                    schedules or tariffs, and a number of                     cluded in the settlement, that are rel-
                                                                    copies sufficient to satisfy the filing                   evant to support the claim. Reply com-
                                                                    requirements applicable to tariff or                      ments may include responding affida-
                                                                    rate filings of the type at issue in the                  vits.
                                                                    proceeding.                                                 (g) Uncontested offers of settlement. (1)
                                                                       (d) Service. (1) A participant offering                If comments on an offer are trans-
                                                                    settlement under this section must                        mitted to the presiding officer and the
                                                                    serve a copy of the offer of settlement:                  presiding officer finds that the offer is
                                                                       (i) On every participant in accord-                    not contested by any participant, the
                                                                    ance with Rule 2010;                                      presiding officer will certify to the
                                                                       (ii) On any person required by the                     Commission the offer of settlement, a
                                                                    Commission’s rules to be served with                      statement that the offer of settlement
                                                                    the pleading or tariff or rate schedule                   is uncontested, and any hearing record
                                                                    filing, with respect to which the pro-                    or pleadings which relate to the offer of
                                                                    ceeding was initiated.                                    settlement.
                                                                       (2) The participant serving the offer                    (2) If comments on an offer of settle-
                                                                    of settlement must notify any person                      ment are transmitted to the Commis-
                                                                    or participant served under paragraph                     sion, the Commission will determine
                                                                    (d)(1) of this section of the date on                     whether the offer is uncontested.
                                                                    which comments on the settlement are                        (3) An uncontested offer of settle-
                                                                    due under paragraph (f) of this section.                  ment may be approved by the Commis-
                                                                       (e) Use of non-approved offers of settle-              sion upon a finding that the settlement
                                                                    ment as evidence. (1) An offer of settle-                 appears to be fair and reasonable and
                                                                    ment that is not approved by the Com-                     in the public interest.
                                                                    mission, and any comment on that                            (h) Contested offers of settlement. (1)(i)
                                                                    offer, is not admissible in evidence                      If the Commission determines that any
                                                                    against any participant who objects to                    offer of settlement is contested in
                                                                    its admission.                                            whole or in part, by any party, the
                                                                       (2) Any discussion of the parties with                 Commission may decide the merits of
                                                                    respect to an offer of settlement that is                 the contested settlement issues, if the
                                                                    not approved by the Commission is not                     record contains substantial evidence
                                                                    subject to discovery or admissible in                     upon which to base a reasoned decision
                                                                    evidence.                                                 or the Commission determines there is
                                                                       (f) Comments. (1) A comment on an                      no genuine issue of material fact.
                                                                    offer of settlement must be filed with                      (ii) If the Commission finds that the
                                                                    the Secretary who will transmit the                       record lacks substantial evidence or
                                                                    comment to the Commission, if the                         that the contesting parties or con-
                                                                    offer of settlement was transmitted to                    tested issues can not be severed from
                                                                    the Commission, or to the presiding of-                   the offer of settlement, the Commis-
                                                                    ficer in any other case.                                  sion will:
                                                                       (2) A comment on an offer of settle-                     (A) Establish procedures for the pur-
                                                                    ment may be filed not later than 20                       pose of receiving additional evidence
                                                                    days after the filing of the offer of set-                before a presiding officer upon which a
                                                                    tlement and reply comments may be                         decision on the contested issues may
                                                                    filed not later than 30 days after the                    reasonably be based; or
                                                                    filing of the offer, unless otherwise pro-                  (B) Take other action which the
                                                                    vided by the Commission or the pre-                       Commission determines to be appro-
                                                                    siding officer.                                           priate.
                                                                       (3) Any failure to file a comment con-                   (iii) If contesting parties or contested
                                                                    stitutes a waiver of all objections to                    issues are severable, the contesting
                                                                    the offer of settlement.                                  parties or uncontested portions may be
                                                                       (4) Any comment that contests an                       severed. The uncontested portions will
                                                                    offer of settlement by alleging a dis-                    be decided in accordance with para-
                                                                    pute as to a genuine issue of material                    graph (g) of this section.
                                                                    fact must include an affidavit detailing                    (2)(i) If any comment on an offer of
                                                                    any genuine issue of material fact by                     settlement is transmitted to the pre-
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                                                                    specific reference to documents, testi-                   siding officer and the presiding officer
                                                                    mony, or other items included in the                      determines that the offer is contested,

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                                                                    Federal Energy Regulatory Commission                                                      § 385.603

                                                                    whole or in part, by any participant,                     has ordered the appointment of a set-
                                                                    the presiding officer may certify all or                  tlement judge.
                                                                    part of the offer to the Commission. If                      (b) Definition. For purposes of this
                                                                    any offer or part of an offer is con-                     section, settlement judge means the ad-
                                                                    tested by a party, the offer may be cer-                  ministrative law judge appointed by
                                                                    tified to the Commission only if para-                    the Chief Administrative Law Judge to
                                                                    graph (h)(2)(ii) or (iii) of this section                 conduct settlement negotiations under
                                                                    applies.                                                  this section.
                                                                      (ii) Any offer of settlement or part of                    (c) Requests for appointment of settle-
                                                                    any offer may be certified to the Com-                    ment judges. (1) Any participant may
                                                                    mission if the presiding officer deter-                   file a motion requesting the appoint-
                                                                    mines that there is no genuine issue of                   ment of a settlement judge with the
                                                                    material fact. Any certification by the                   presiding officer, or, if there is no pre-
                                                                    presiding officer must contain the de-                    siding officer for the proceeding, with
                                                                    termination that there is no genuine                      the Commission.
                                                                    issue of material fact and any hearing                       (2) A presiding officer may request
                                                                    record or pleadings which relate to the                   the Chief Administrative Law Judge to
                                                                    offer or part of the offer being cer-                     appoint a settlement judge.
                                                                    tified.
                                                                                                                                 (3) A motion under paragraph (c)(1) of
                                                                      (iii) Any offer of settlement or part
                                                                                                                              this section may be acted upon at any
                                                                    of any offer may be certified to the
                                                                                                                              time, and the time limitations on an-
                                                                    Commission, if:
                                                                                                                              swers in Rule 213(d) do not apply.
                                                                      (A) The parties concur on a motion
                                                                    for omission of the initial decision as                      (4) Any answer or objection filed
                                                                    provided in Rule 710, or, if all parties                  after a motion has been acted upon will
                                                                    do not concur in the motion, the pre-                     not be considered.
                                                                    siding officer determines that omission                      (d) Commission order directing appoint-
                                                                    of the initial decision is appropriate                    ment of settlement judge. The Commis-
                                                                    under Rule 710(d), and                                    sion may, on motion or otherwise,
                                                                      (B) The presiding officer determines                    order the Chief Administrative Law
                                                                    that the record contains substantial                      Judge to appoint a settlement judge.
                                                                    evidence from which the Commission                           (e) Appointment of settlement judge by
                                                                    may reach a reasoned decision on the                      Chief Administrative Law Judge. The
                                                                    merits of the contested issues.                           Chief Administrative Law Judge may
                                                                      (iv) If any contesting parties or con-                  appoint a settlement judge for any pro-
                                                                    tested issues are severable, the                          ceeding, if requested by the presiding
                                                                    uncontested portions of the settlement                    officer under paragraph (c)(2) of this
                                                                    may be certified immediately by the                       section or if the presiding officer con-
                                                                    presiding officer to the Commission for                   curs in a motion made under paragraph
                                                                    decision, as provided in paragraph (g)                    (c)(1) of this section.
                                                                    of this section.                                             (f) Order appointing settlement judge.
                                                                      (i) Reservation of rights. Any proce-                   The Chief Administrative Law Judge
                                                                    dural right that a participant has in                     will appoint a settlement judge by an
                                                                    the absence of an offer of settlement is                  order, which specifies whether, and to
                                                                    not affected by Commission dis-                           what extent, the proceeding is sus-
                                                                    approval, or approval subject to condi-                   pended pending termination of settle-
                                                                    tion, of the uncontested portion of the                   ment negotiations conducted in ac-
                                                                    offer of settlement.                                      cordance with this section. The order
                                                                                                                              may confine the scope of any settle-
                                                                    [Order 225, 47 FR 19022, May 3, 1982, as
                                                                    amended by Order 541, 57 FR 21734, May 22,
                                                                                                                              ment negotiations to specified issues.
                                                                    1992; Order 578, 60 FR 19505, Apr. 19, 1995]                 (g) Powers and duties of settlement
                                                                                                                              judge. (1) A settlement judge will con-
                                                                    § 385.603 Settlement of negotiations                      vene and preside over conferences and
                                                                         before a settlement judge (Rule                      settlement negotiations between the
                                                                         603).                                                participants        and     assess     the
                                                                       (a) Applicability. This section applies                practicalities of a potential settle-
                                                                    to any proceeding set for hearing under                   ment.
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                                                                    subpart E of this part and to any other                      (2)(i) A settlement judge will report
                                                                    proceeding in which the Commission                        to the Chief Administrative Law Judge

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Ohio Revised Code
Section 4928.12 Qualifying transmission entities.
Effective: October 5, 1999
Legislation: Senate Bill 3 - 123rd General Assembly


(A) Except as otherwise provided in sections 4928.31 to 4928.40 of the Revised Code, no entity shall
own or control transmission facilities as defined under federal law and located in this state on or after
the starting date of competitive retail electric service unless that entity is a member of, and transfers
control of those facilities to, one or more qualifying transmission entities, as described in division
(B) of this section, that are operational.


(B) An entity that owns or controls transmission facilities located in this state complies with division
(A) of this section if each transmission entity of which it is a member meets all of the following
specifications:


(1) The transmission entity is approved by the federal energy regulatory commission.


(2) The transmission entity effects separate control of transmission facilities from control of
generation facilities.


(3) The transmission entity implements, to the extent reasonably possible, policies and procedures
designed to minimize pancaked transmission rates within this state.


(4) The transmission entity improves service reliability within this state.


(5) The transmission entity achieves the objectives of an open and competitive electric generation
marketplace, elimination of barriers to market entry, and preclusion of control of bottleneck electric
transmission facilities in the provision of retail electric service.


(6) The transmission entity is of sufficient scope or otherwise operates to substantially increase
economical supply options for consumers.


(7) The governance structure or control of the transmission entity is independent of the users of the



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transmission facilities, and no member of its board of directors has an affiliation, with such a user or
with an affiliate of a user during the member's tenure on the board, such as to unduly affect the
transmission entity's performance. For the purpose of division (B)(7) of this section, a "user" is any
entity or affiliate of that entity that buys or sells electric energy in the transmission entity's region or
in a neighboring region.


(8) The transmission entity operates under policies that promote positive performance designed to
satisfy the electricity requirements of customers.


(9) The transmission entity is capable of maintaining real-time reliability of the electric transmission
system, ensuring comparable and nondiscriminatory transmission access and necessary services,
minimizing system congestion, and further addressing real or potential transmission constraints.


(C) To the extent that a transmission entity under division (A) of this section is authorized to build
transmission facilities, that transmission entity has the powers provided in and is subject to sections
1723.01 to 1723.08 of the Revised Code.


(D) For the purpose of forming or participating in a regional regulatory oversight body or mechanism
developed for any transmission entity under division (A) of this section that is of regional scope and
operates within this state:


(1) The commission shall make joint investigations, hold joint hearings, within or outside this state,
and issue joint or concurrent orders in conjunction or concurrence with any official or agency of any
state or of the United States, whether in the holding of those investigations or hearings, or in the
making of those orders, the commission is functioning under agreements or compacts between states,
under the concurrent power of states to regulate interstate commerce, as an agency of the United
States, or otherwise.


(2) The commission shall negotiate and enter into agreements or compacts with agencies of other
states for cooperative regulatory efforts and for the enforcement of the respective state laws
regarding the transmission entity.


(E) If a qualifying transmission entity is not operational as contemplated in division (A) of this



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section, division (A)(13) of section 4928.34 of the Revised Code, or division (G) of section 4928.35
of the Revised Code, the commission by rule or order shall take such measures or impose such
requirements on all for-profit entities that own or control electric transmission facilities located in
this state as the commission determines necessary and proper to achieve independent,
nondiscriminatory operation of, and separate ownership and control of, such electric transmission
facilities on or after the starting date of competitive retail electric service.




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